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AO 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture

 

United States District Court
for the
District of Arizona

In the Matter of the Seizure of ) Case No.

(Briefly describe the property to be seized)

1. Bank of America account #45703 1411693, held in the
name of Coleman Family Freight Logistics LLC;

2. Bank of America account #45703 1411732, held in the
name of Lioness Community Care of Ohio LLC;

3. Bank of America account #4570423 63675, held in the
name of Coleman Real Estate Services LLC; and,

4, Bank of America account #45703 1408745, held in the
name of Kimberly D. Coleman.

WARRANT TO SEIZE PROPERTY SUBJECT TO FORFEITURE

To: Any authorized law enforcement officer

Hd yw

Nee eee ee ee Ne

An application by a federal law enforcement officer or an attorney for the government requests that
certain property located in the District of Arizona be seized as being subject to forfeiture to the United States
of America. The property is described as follows:

1. Bank of America account #45703 1411693, held in the name of Coleman Family Freight Logistics LLC;
2. Bank of America account #45703 1411732, held in the name of Lioness Community Care of Ohio LLC;
3. Bank of America account #457042363675, held in the name of Coleman Real Estate Services LLC; and,
4. Bank of America account #45703 1408745, held in the name of Kimberly D. Coleman.

1 find that the affidavit(s) and any recorded testimony establish probable cause to seize the property.

in Uw

YOU ARE COMMANDED to execute this warrant and seize the property on or before \ PAW ;
(not to exceed 14 days)

Qin the daytime - 6:00 a.m. to 10:00 p.m. Oat any time in the day or night, as I find reasonable cause has
been established.

Unless delayed notice is authorized below, you must also give a copy of the warrant and a receipt for the
property taken to the person from whom, or from whose premises, the property was taken, or leave a copy and
receipt at the place where the property was taken.

An officer present during the execution of the warrant must prepare, as required by law, an inventory of
any property seized and the officer executing the warrant must promptly return this warrant and a copy of the
inventory to United States Judge any duty Magistrate Judge

(United States Magistrate Judge)

Vv [A Q) Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18
U.S.C. § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the
person who, or whose property, will be search or seized (check the appropriate box)

QO for days (not to exceed 30). O until, the facts justifying, the later specific date of

7
Date and time issued: (2{14/ Z CO GAM OY, 1 £8 KK

Judge ’s signature

City and State: _Phoenix, AZ Hon. Michelle H. Burns, U.S. Magistrate Judge
Printed name and title

 

 
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AO 108 (Rev. 06/09) Application for a Warrant to Seize Personal Property Subject to Forfeiture

 

United States District Court
for the
District of Arizona

Case No.

2 \- 00 MIP

In the Matter of the Seizure of: )
(Briefly describe the property to be seized) )
1. Bank of America account #457031411693, held inthe _)
name of Coleman Family Freight Logistics LLC; )
2. Bank of America account #45703 1411732, held in the )
name of Lioness Community Care of Ohio LLC; )
3. Bank of America account #457042363675, held in the )
name of Coleman Real Estate Services LLC; and, )
4, Bank of America account #45703 1408745, held in the
name of Kimberly D. Coleman.

APPLICATION FOR A WARRANT
TO SEIZE PROPERTY SUBJECT TO FORFEITURE

I, a federal law enforcement officer or attorney for the government, request a seizure warrant
and state under penalty of perjury that I have reason to believe that the following property in the District
of Arizona, is subject to forfeiture to the United States of America as it (a) property, real or personal,
which constitute or are derived from proceeds traceable to a specific unlawful activity, including
18 U.S.C. § 1343 (Wire Fraud), and are property, real or personal, involved in a transaction or
attempted transaction in violation of 18 U.S.C. § 1957 (Money Laundering); (b) subject to seizure
pursuant to 18 U.S.C. §§ 981(b)(1) and 21 U.S.C. § 853(e) and (f); and (c) subject to forfeiture
pursuant to 18 U.S.C. §§ 981(a)(1)(A) and (C) and 982(a)(1) and 28 U.S.C. § 2461. (describe the

property):
1. Bank of America account #457031411693, held in the name of Coleman Family Freight Logistics LLC;
2. Bank of America account #45703 1411732, held in the name of Lioness Community Care of Ohio LLC;
3. Bank of America account #457042363675, held in the name of Coleman Real Estate Services LLC; and,
4, Bank of America account #45703 1408745, held in the name of Kimberly D. Coleman.

The application is based on these facts:

See the Affidavit of Troy Cofer, Special Agent, Federal Bureau of Investigation.

LJ Continued on the attached sheet. Sx)

 

? Applicant's signature
Troy Cofer, Special Agent, Affiant
MARK WENKER sane Printed name and title
enker-

Approved by AUSA Mark’ J-"Wenker

telephonically
Sworn to before-me-and-signed in my presence.

Date: | Z [ig / 20 e/

 

 

 

Judge’s signature

City and State: Phoenix, Arizona Hon. Michelle H. Burns, U.S. Magistrate Judge
Printed name and title

 

 

 
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AFFIDAVIT IN SUPPORT OF AN APPLICATION
FOR SEIZURE WARRANTS

I, Troy Cofer, a Special Agent (SA) with the Federal Bureau of Investigation
(FBI), Phoenix Division, having been duly sworn, depose and state the following:

This Affidavit is submitted in support of seizure warrant applications for bank accounts,
on which Jason Junior Coleman (DOB: ##/##/1981) and Kimberly D. Coleman (DOB:
##/##/1983) are authorized signers, that contain proceeds of fraudulent Paycheck Protection
Program (“PPP”) loans. The following bank accounts are subject to seizure and forfeiture:

1) Chase Bank account #397858918 [ref. pg. 44-48];
2) Chase Bank account #279060690 [ref. pg. 48-50];
3) Chase Bank account #397869600 [ref. pg. 59-61];
4) Chase Bank account #583811127 [ref. pg. 50-51];
5) Chase Bank account #356068657 [ref. pg. 48];

6) Chase Bank account #369050171 [ref. pg. 20-25];
7) Chase Bank account #629172369 [ref. pg. 34-40];
8) Chase Bank account #362503093 [ref. pg. 26-34];
9) Chase Bank account #526782765 [ref. pg. 52-53];
10) Chase Bank account #629168995 [ref. pg. 51-52];
11) Chase Bank account #660555118 [ref. pg. 78];

12) Chase Bank account #526762379 [ref. pg. 78-79];
13) Chase Bank account #526731622 [ref. pg. 55-56];
14) Chase Bank account #583820979 [ref. pg. 63-65];

15) Chase Bank account #307502077 [ref. pg. 54-55];

 
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16) Chase Bank account #397828622 [ref. pg. 57-59];
17) Chase Bank account #526709115 [ref. pg. 65-71];
18) Chase Bank account #526709107 [ref. pg. 31-33];
19) Chase Bank account #526709180 [ref. pg. 65-72];
20) Bank of America account #457031411693 [ref. pg. 61-63];
21) Bank of America account #457031411732 [ref. pg. 56-57];
22) Bank of America account #457042363675 [ref. pg. 62, 63, 75 and 80];
23) Bank of America account #457031408745 [ref. pg. 73-78];
24) Citibank account #42032092829 [ref. pg. 41-44]; and
25) Citibank account #42032092837 [ref. pg. 41-44].
Moreover, the following vehicles, which the Colemans purchased with PPP fraud
proceeds and registered to Champion Auto Sales, LLC, are subject to seizure and forfeiture:
1) 2019 Rolls Royce Cullinan, VIN: SLA689X56KU114290 [the “Rolls Royce”; ref.
pg. 80];
2) 2020 Mercedes-Benz Sprinter Van, VIN: WDAPF1CD5KP175357 [the
“Mercedes”; ref. pg. 80];
3) 2020 Range Rover Land Rover, VIN: SALGSSSE3LA412919 [the “Range
Rover”; ref. pg. 81];
4) 2021 Cadillac Escalade, VIN: 1GYS4CKL3MR186201 [the “Cadillac Escalade”;
ref. pg. 81]; and
5) 2019 Bentley Bentayga, VIN: SJAAM2ZV6KC024809 [the “Bentley”; ref. pg. 82].
Probable cause exists to believe that the bank accounts and vehicles noted above are (a)

property, real or personal, which constitute or are derived from proceeds traceable to a specific

 
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unlawful activity, including 18 U.S.C. § 1343 (Wire Fraud), and are property, real or personal,
involved in a transaction or attempted transaction in violation of 18 U.S.C. § 1957 (Money
Laundering); (b) subject to seizure pursuant to 18 U.S.C. §§ 981(b)(1) and 21 U.S.C. § 853(e)
and (f); and (c) subject to forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(A) and (C) and 982(a)(1)
and 28 U.S.C. § 2461.

INTRODUCTION

1, I have been a Special Agent with the FBI since September 2019 and am
authorized to investigate violations of laws of the United States. I am a law enforcement officer
with authority to execute arrest, search, and seizure warrants under the authority of 18 U.S.C. §
3052. I have a bachelor’s degree in Operations Management and a master’s degree in Finance.
Before joining the FBI, I worked as a Finance Manager at a manufacturing company. I was
trained at the FBI Academy in Quantico, Virginia, and I am currently assigned to the Phoenix
Division’s Complex Financial Crimes Squad, specializing in corporate fraud and other complex
financial crimes.

2. The facts supporting this Affidavit are based on my personal knowledge and
information received from other law enforcement personnel assisting in this investigation, through
financial information, interviews, other documents, and sources. I have reviewed and am familiar
with the information contained in this Affidavit and allege the facts contained herein to be accurate.
Because this Affidavit is being submitted for the limited purpose of establishing probable cause
for Seizure Warrants, I have not included each and every fact known to me concerning this
investigation.

3. I am currently involved in an investigation being conducted by agents of the FBI

regarding the fraudulent activities of the following individuals: Jason Coleman (“Coleman”),

 
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and Kimberly Coleman doing business as Fisher Family Home, LLC North formerly Coco’s
Assisted Living Home LLC; Lioness Community Care of Arizona, LLC; Champion Auto
Sales, LLC; JJ Express Transport, Coleman Real Estate Services, LLC; Empress Home
Care Services, LLC; Coleman Family Freight Logistics LLC; We Mean To Clean, LLC; New
Beginnings Childcare Center LLC; Al Home Care Software LLC; Lioness Community Care
of Ohio LLC; Lioness Community Care Corp. (PA); Victorious Franchises (PA), LLC;
Empress Home Care Services, LLC (PA); Borrow My Credentials, LLC (PA); and CST
Data, LLC (NC).

4, In early 2020, the United States saw a national emergency declared related to the
COVID-19 (Coronavirus) pandemic. The Coronavirus Aid, Relief, and Economic Security
("CARES”) Act, a federal law enacted in March 2020, was designed to provide emergency
financial assistance to the millions of Americans who were suffering the economic effects caused
by the Coronavirus pandemic. Coleman and his wife Kimberly Coleman attempted to take out
or received several PPP and Economic Injury Disaster (EIDL) loans at various banks from 2020
through 2021 under a variety of entities; Coleman Real Estate Services LLC, Victorious
Franchises LLC, JJ Express Transport LLC, Coco’s Assisted Living Home, Empress Home
Care Services LLC, Al Home Care Software LLC, New Beginnings Childcare Services LLC,
Coleman Family Freight Logistics LLC, Lioness Community Care Corp. and Lioness
Community Care of Ohio LLC. Each of the entities were controlled by either Coleman and/or
Kimberly Coleman. Either Jason Coleman or Kimberly Coleman provided the banks with
documentation in an attempt to receive PPP loans. Banks identified discrepancies with some of
the documentation the Colemans provided. In some instances, Jason Coleman could not answer

basic questions about the entities when asked by the banks, most of the PPP loans were denied by

 
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the banks. The funds the Colemans received were not used for permissible expenses such as
payroll costs, interest on mortgages, rent, and/or utilities, but were used instead for purchases of
real property, vehicles and on other personal expenses, such as vacations and trips outside the
continental U.S.
BACKGROUND

The Paycheck Protection Program

7, The CARES Act is a federal law enacted on March 27, 2020, and designed to
provide emergency financial assistance to the millions of Americans who were suffering the
economic effects caused by the COVID — 19 pandemic. One source of relief provided by the
CARES Act was the authorization of up to $349 billion in forgivable loans to small businesses for
job retention and certain other expenses, through a program referred to as the Paycheck Protection
Program (PPP). In or around April 2020, Congress authorized over $300 billion in additional PPP
funding.

8. In order to obtain a PPP loan, a business must submit a PPP loan application (SBA
Form 2483) which is signed by an authorized representative of the business. The PPP loan
application requires the business (through its authorized representative to acknowledge the
program rules and to make certain affirmative certifications regarding its eligibility. In the
application, the small business's authorized representative must also provide, among other things,
the business's: (a) average monthly payroll expenses; and (b) number of employees. These figures
are used to calculate the business's eligibility and the amount of money it may receive under the
PPP. In addition, businesses applying for a PPP loan must provide documentation showing their

payroll expenses.

 
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9. A PPP loan application must be processed by a participating lending financial
institution. If a PPP loan application is approved by the participating financial institution, that
institution funds the PPP loan using its own monies, which are guaranteed by the Small
Business Administration (“SBA”). Participating financial institutions require that the information
provided in PPP loan applications be truthful, including information about the applicant business's
employees and payroll expenses, which is material to the financial institutions’ approval and the
terms of PPP loans.

10. Information from the application, including information about the borrower, the
total amount of the loan, and the listed number of employees, is transmitted by the lending financial
institution to the SBA in the course of processing the loan.

11. | PPP loan proceeds must be used by the business for certain permissible expenses
payroll costs, interest on mortgages, rent, and utilities. The PPP allows the interest and principal
on the PPP loan to be entirely forgiven if the business spends the loan proceeds on these items
within a designated period of time (usually within twenty-four weeks of receiving the proceeds)
and uses at least 60% of the PPP loan proceeds for payroll expenses and employee benefits costs.

BUSINESS ENTITIES
Fisher Family Home, LLC North fka Coco’s Assisted Living Home, LLC

12. Per Arizona Corporation Commission (ACC) records, Nicoleta Moga incorporated
Coco’s Assisted Living Home, LLC, Entity ID: L17882571, with a Formation Date of September
11, 2012; the statutory agent is Jason Junior Coleman; and the Member is Jason Junior
Coleman. Per Articles of Amendment, the Entity name changed from Coco’s Assisted Living
Home, LLC to Fisher Family Home, LLC North and on April 11, 2018, Nicoleta Moga was

removed as Member and Jason Junior Coleman was added as Member and statutory agent.

 
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Lioness Community Corp.

13. Per Pennsylvania Department of State Bureau of Corporations and Charitable
Organizations records, Kimberly Edwards Coleman incorporated Lioness Community Corp.,
Entity Number: 4152626; Creation Date: December 17, 2012; Purpose: Serving Individuals with
developmental disabilities; and the Owner/President is Kimberly Edwards Coleman.
Victorious Franchises LLC

14. Per Pennsylvania Department of State Bureau of Corporations and Charitable
Organizations records, Kimberly Edwards Coleman incorporated Victorious Franchises LLC,
Entity Number: 6284566 with a Creation Date: September 9, 2015.

Empress Home Care Services LLC

15, Per Pennsylvania Department of State Bureau of Corporations and Charitable
Organizations records, Jason Coleman incorporated Empress Home Care Services LLC, Entity
Number: 6394095 with a Creation Date: April 23, 2016.

Lioness Community Care of Virginia LLC

16. | Per ACC records, Kimberly Coleman incorporated Lioness Community Care of
Virginia LLC, Entity ID: S7006721; Formation Date of August 27, 2017; and Organizer is listed
as follows: Kimberly Coleman. A Statement of Principal Office Change is signed by Kimberly
Coleman as Owner. Perr an Application of Reinstatement, Kimberly Coleman is listed as a
Member with an address on N. Tatum Blvd. in Phoenix, AZ.

Lioness Community Care of Arizona, LLC

17. Per ACC records, Kimberly Coleman incorporated Lioness Community Care of

Arizona, LLC, Entity ID: L22170809; Formation Date of September 7, 2017; Statutory Agent

and Member are Kimberly Coleman with an address on W. Thunderbird Rd., Phoenix, AZ.

 
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We Mean To Clean LLC

18. Per ACC records, Kimberly Coleman incorporated We Mean To Clean LLC,
Entity ID: L22861923; Formation Date of May 10, 2018; and the Statutory Agent and Member are
Kimberly Coleman with an address on N. 35" Ave. in Phoenix, AZ.
Champion Auto Sales, LLC

19. Per ACC records, Jason Coleman incorporated Champion Auto Sales, LLC,
Entity ID: 1873313; Business Type: Used Auto Dealer; Formation Date of July 2, 2018; and the
Statutory Agent and Member are Jason Coleman with an address on W. Thunderbird Rd.,
Phoenix, AZ. 85053.
Borrow My Credentials LLC

20. Per Pennsylvania Secretary of State Corporations records, Kimberly Coleman
incorporated Borrow My Credentials LLC, Entity Number: 6750968; Creation Date: July 24,
2018; and the Certificate of Organization Domestic Limited Liability Company was signed by
Kimberly Coleman as Organizer.
JJ Express Transport, LLC

21. Per ACC records, Jason Coleman incorporated JJ Express Transport, LLC,
Entity ID: 1885504; Business Type: Transportation and Warehousing (48); Formation Date of
August 6, 2018; and the Statutory Agent and Member are Jason Coleman.
Lioness Community Care of Ohio, LLC

22. Per Ohio Secretary of State Business Search, Kimberly Coleman incorporated
Lioness Community Care of Ohio, LLC, Entity #: 4241216; Formation Date of October 11,

2018; and the Agent/Registrant is Kimberly Coleman.

 
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Coleman Real Estate Services, LLC

23. Per ACC records, Kimberly Coleman incorporated Coleman Real Estate
Services, LLC, Entity ID: 1953019; Formation Date of February 2, 2019; the Statutory Agent is
Kimberly Coleman; and in 2021 Kimberly Coleman was removed as Member and KDC Trust
was added as Member.
Empress Home Care Services, LLC

24. Per ACC records, Jason Coleman incorporated Empress Home Care Services,
LLC, Entity ID: 1956819; Formation Date of March 1, 2019; and the Statutory Agent and Member
are Jason Coleman.
Coleman Family Freight Logistics, LLC

25. Per ACC records, Jason Coleman incorporated Empress Home Care Services,
LLC, Entity ID: 1956820; Formation Date of March 1, 2019; and the Statutory Agent and Member
are Jason Coleman.
New Beginnings Childcare Center LLC

26. Per ACC records, Jason Coleman incorporated New Beginnings Childcare
Center LLC, Entity ID: 1976668; Business Type: childcare Center; Formation Date of April 18,
2019; and the Statutory Agent and Manger are Jason Coleman.
Al Home Care Software, LLC

27. Per ACC records, Kimberly Coleman incorporated Al Home Care Software,
LLC, Entity ID: 23039703; Business Type: Software; Formation Date of November 11, 2019; and

the Statutory Agent and Member are Kimberly Coleman.

 
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CST Data, LLC

28. Per North Carolina Secretary of State Business Registry records, Kimberly
Coleman incorporated CST Data, LLC, Entity ID: 0609469; Business Type: Software;
Formation Date of November 7, 2001; the Registered Agent is Kimberly Coleman; and the
President is Kimberly Djai Coleman.

ILLEGAL ACTIVITY

29. Between May 13, 2020, through May 27, 2020, BlueVine Inc. ("BlueVine"), a
financial technology company which was acting as an agent on behalf of the Celtic Bank (“the
Bank”), headquartered in Salt Lake City, Utah, received seven PPP loan applications from subjects
Jason Coleman and Kimberly Coleman acting on behalf of various entities that contained false
or forged documentation that led BlueVine to approve four of the seven applications on behalf of
the Bank.

FINANCIAL INSTITUTION ACCOUNTS

30. On or about April 23, 2018, Jason Coleman opened Chase Total Business
checking account #279060690 at Chase Bank, Bell and 19" Ave. Branch #170, held in the name
of Coco’s Assisted Living Home LLC, later renamed Fisher Family Home, LLC North,
signed on or about February 4, 2021, with Jason Junior Coleman is listed as sole signer on the
account.

31. On or about July 25, 2018, Kimberly Coleman opened Chase Total Business
Checking account #307502077 at Chase Bank, Camelback and 16" Branch #38, 5041 North 16th
Street, Phoenix, Arizona 85016, held in the name of We Mean To Clean LLC with Kimberly D.

Coleman, Manager, listed as sole signer on the account.

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32. On or about November 14, 2018, Jason Coleman opened Business Checking
account #356068657 at Chase Bank, Thunderbird and 43 Ave. Phoenix, AZ Branch #267, held
in the name of Empress Home Care Services LLC, with Jason Coleman listed as the sole signer
on the account.

33. On or about December 14, 2018, Kimberly Coleman opened Total Checking
account #362503093 at Chase Bank, Mayo and Scottsdale, Phoenix, AZ Branch #7742, 7165
East Mayo Blvd., Phoenix, Arizona 85054, held in the name of Kimberly D. Coleman, who is
listed as the sole signer on the account.

34. On or about January 11, 2019, Jason Coleman opened Total Checking account
#369050171 at Chase Bank, Thunderbird and 43 Ave. Phoenix, AZ Branch #267, held in the
name of Jason Coleman, who is listed as sole signer on the account.

35. | Onor about May 2, 2019, Jason Coleman opened Chase Total Business checking
account #397828622 at Chase Bank, Horizon Branch #352, 14854 Frank Lloyd Wright Blvd.,
Scottsdale, Arizona 85260, held in the name of New Beginnings Learning Center LLC, with
Jason Coleman Manager, and Kimberly D. Coleman, listed as authorized signers on the account.

36. On or about May 2, 2019, Kimberly Coleman opened Chase Total Business
checking account #397858918 at Chase Bank, Horizon Branch #352, 14854 Frank Lloyd Wright
Blvd., Scottsdale, Arizona 85260, held in the name of Coleman Real Estate Services LLC, with
Kimberly D. Coleman, Manager, and Jason Coleman listed as authorized signers on the account.

37. | Onor about May 2, 2019, Jason Coleman opened Chase Total Business Checking
account #397869600 at Chase Bank, Horizon 352, held in the name of JJ Express Transport,

LLC. Jason Coleman and Kimberly Coleman are listed as authorized signers on the account.

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38. On or about August 19, 2019, Kimberly Coleman opened Chase Performance
Business Checking account #526709107 at Chase Bank, Shea and Tatum, Branch #326, 4924
East Shea Boulevard, Scottsdale, Arizona 85254, held in the name of Lioness Community Care
of Arizona LLC. Kimberly D. Coleman, Member, was authrorized signer and Jason Coleman
and Justin M. Tyler were added as authorized signers in 2019 and 2021.

39. On or about August 19, 2019, Kimberly Coleman opened Chase Performance
Business Checking account #526709115 at Chase Bank, Shea and Tatum, Branch #326, 4924
East Shea Boulevard, Scottsdale, Arizona 85254, held in the name of Lioness Community Care
of Arizona LLC. Kimberly D. Coleman, Member, was the authorized signer and Jason
Coleman and Justin M. Tyler were added as authorized signers in 2019 and 2021.

40. On or about August 19, 2019, Kimberly Coleman opened Chase Performance
Business Checking account #526709180 at Chase Bank, Shea and Tatum, Branch #326, 4924
East Shea Boulevard, Scottsdale, Arizona 85254, held in the name of Lioness Community Care
of Arizona LLC. Kimberly D. Coleman, Member, was the authorized signer and Jason
Coleman and Justin M. Tyler were added as authorized signers in 2019 and 2021.

41. On or about August 19, 2019, Kimberly Coleman opened Chase Performance
Business Checking account #526731622 at Chase Bank, Shea and Tatum, Branch #326, 4924
East Shea Boulevard, Scottsdale, Arizona 85254, held in the name of Lioness Community Care
of Virginia LLC. Kimberly D. Coleman and Jason Coleman are authorized signers.

42. On or about August 19, 2019, Kimberly Coleman opened Chase Performance
Business Checking account #526762379 at Chase Bank, Shea and Tatum, Branch #326, 4924
East Shea Boulevard, Scottsdale, Arizona 85254, held in the name of Lioness Community Care

Corp., with Kimberly D. Coleman, President, listed as sole signer on the account.

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43, On or about August I, 2018, Kimberly Coleman opened Chase Total Business
Checking account #526782765 at Chase Bank, Shea and Tatum, Branch #326, 4924 East Shea
Boulevard, Scottsdale, Arizona 85254, held in the name of Borrow My Credentials LLC, with
Kimberly Coleman, Member, listed as sole signer on the account.

44, On or about November 29, 2019, Kimberly Coleman opened Chase Total
Business Checking account #583811127 at Chase Bank, Shea and Tatum, Branch #326, held in
the name of Al Home Care Software LLC. Kimberly Coleman, Manager, is listed as sole
signer on the account.

45. On or about November 29, 2019, Kimberly Coleman opened Chase Total
Business Checking account #583820979 at Chase Bank, Shea and Tatum, Branch #326, held in
the name of Victorious Franchises LLC with Kimberly D. Coleman, Manager, listed as sole
signer on the account.

46. On or about February 21, 2020, Jason Coleman, Jr. opened account
#457042363675 at Bank of America, Metro Center Branch #333, held in the name of Coleman
Real Estate Services LLC with Jason Coleman Jr., Member, and Kimberly D. Coleman listed
as authorized signers on the account.

47. On or about February 21, 2020, Kimberly Coleman opened Business Advantage
Checking account #457031411839 at Bank of America, Metro Center Branch #333, held in the
name of We Mean To Clean LLC, with Kimberly D. Coleman, Manager, and Jason Coleman,
Jr. listed as authorized signers on the account.

48. On or about February 28, 2020, Kimberly D. Coleman opened Checking account
#457031408745 at Bank of America, Metro Center Branch # 333, AZ, held in the name of

Kimberly D. Coleman, who is listed as the sole authorized signer on the account.

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49. On or about February 29, 2020, Jason Coleman Jr. opened Business Checking
account #457031411693 at Bank of America, Metro Center Branch # 333, AZ, held in the name
of Coleman Family Freight Logistics, LLC, with Jason Coleman Jr., Member, and Kimberly
D. Coleman listed as authorized signers on the account.

50. On or about March 2, 2020, Kimberly Coleman opened Business Checking
account #457031411732 at Bank of America, Metro Center Branch # 333, AZ, held in the name
of Lioness Community Care of Ohio LLC. Kimberly D. Coleman, Member, and Jason
Coleman Jr. are listed as authorized signers on the account.

S51. On or about May 29, 2020, Kimberly D. Coleman, self-employed at Lioness
Community Care of AZ, opened J.P.Morgan Securities LLC Mutual Fund Advisory
Portfolio Investment Account Number: 83262854, at the Bell Road and Cotton Lane location,
with deposit account/money market sweep Kimberly Coleman Chase checking account
#362503093, with Jason J. Coleman as beneficiary upon death.

52. On or about June 9, 2020, Jason J. Coleman, self-employed at Coco’s Assisted
Living, LLC, opened J.P.Morgan Securities LLC Mutual Fund Advisory Portfolio
Investment Account Number: 83263992, at the Bell Road and Cotton Lane location, with deposit
account/money market sweep Jason Coleman Chase checking account #369050171, with
Kimberly D. Coleman as beneficiary upon death.

53. On or about June 16, 2020, Kimberly D. Coleman, self-employed at Lioness
Community Care of AZ, opened J.P.Morgan Securities LLC Polen Focus Growth (POLFGE)
Investment Account Number: 83264948, at the Bell Road and Cotton Lane location, with deposit
account/money market sweep Kimberly Coleman Chase checking account #362503093, with

Jason J. Coleman trusted contact name and beneficiary upon death.

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54. Onor about July 10, 2020, Jason Coleman opened Chase Total Business Checking
account #629168995 at Chase Bank, McKellips and 56", Mesa, AZ Branch #133, held in the
name of Champion Auto Sales LLC, with Jason Junior Coleman, Member, listed as the sole
signer on the account.

55. | Onor about July 10, 2020, Jason Coleman opened Premier Plus Checking account
#629172369 at Chase Bank, McKellips and 56", Mesa, AZ Branch #133, held in the name of
Jason Coleman, who is listed as the sole signer on the account.

56. On or about October 15, 2020, Jason Junior Coleman opened Chase Total
Business Checking account #660555118 at Chase Bank, McKellips and 56", Mesa, AZ Branch
#133, held in the name of Coleman Family Freight Logistics LLC, with Jason Junior Coleman,
Member, and Kimberly D. Coleman listed as authorized signers on the account.

57. On or about October 19, 2020, Kimberly Coleman, opened Business Standard
Checking account #7934750766 at Fifth Third Bank, held in the name of CST Data, LLC, with
Kimberly Coleman and William M. Rigsbee listed as authorized signers on the account, but as of
December 12, 2020, Kimberly Coleman is listed as the sole signer on the account.

58. On or about February 19, 2021, Kimberly Coleman opened Citigold Interest
checking account #42032092829, and accompanying Citi Savings account #42032092837, at
Citibank, LA-Century City (0236), 1900 Avenue of the Stars #110, Los Angeles, CA 90067 held
in the name of Kimberly Coleman, who is listed as the sole authorized signer on the account.

FRAUDULENT SBA PPP LOAN APPLICATIONS and DISBURSEMENTS

59. Beginning in May 2020, Jason Coleman and Kimberly Coleman submitted

approximately 20 PPP and EIDL loan applications in an attempt to receive more than $30 million

in PPP and EIDL funds. The applications contained grossly inflated employee payroll costs to

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obtain a higher amount of PPP funds. A review of the submitted applications for EIDL and PPP
contained false information to maximize loan proceeds of each program. A review of PPP annual
payroll costs and EIDL gross revenues on applications submitted by the Colemans, in most
instances, were extremely disproportionate to submitted gross revenues of the business. The
Colemans obtained funding for ten PPP loans, administered through the SBA.

60. Jason Coleman obtained at least five PPP loans through five different entities for
a value of approximately $7,143,452.94, and Kimberly Coleman obtained at least five PPP loans
through five different entities for a value of approximately $5,915,527.00. In total, Jason
Coleman and Kimberly Coleman, through their business entities, applied for and received
approximately $13,058,979.94 through fraudulent PPP loan funding, as follows:

PPP Loan #1

61. | Onor about May 15, 2020, Kimberly Coleman, acting on behalf of Coleman Real
Estate Services LLC, submitted a PPP application for $1,442,075.00. Bluevine approved the
application on or about May 18, 2020, and Celtic Bank issued an ACH transfer for the approved
amount to Chase Bank account #397858918. The application listed 70 employees with an
average monthly payroll of $576,830.00 for the company. The Internal Revenue Service (IRS)
did not have a record of Coleman Real Estate Services LLC filing traditional tax forms with the
IRS, specifically the Form 940 that accompanied the PPP application submitted to the financial
instituation which substantiated approximately $6,921,962.64 being paid to employees as wages
in 2019.

PPP LOAN #2

62. | Onor about May 18, 2020, Kimberly Coleman submitted a PPP application acting

on behalf of Victorious Franchises LLC for $937,500.00. The application was approved on or

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about May 22, 2020, and Fundbox issued an ACH transfer for the approved amount to Chase
Bank account #583820979. The application listed 26 employees with an average monthly payroll
of $375,000.00 for the company. The IRS did not have a record of Victorious Franchises LLC
filing traditional tax forms with the IRS, specifically the Form 940 that accompanied the PPP
application submitted to the financial institution which substantiated approximately $4,499,275.72
being paid to employees as wages in 2019.

PPP LOAN #3

63. Onor about May 19, 2020, Kimberly Coleman submitted a PPP application acting
on behalf of Lioness Community Care Corp. for $650,000.00. On or about August 14, 2020,
the application was approved, and MBE Capital Partners wired the approved amount to Lioness
Community Care Corp. Chase Bank account #526762379. The application listed 26 employees
with an average monthly payroll of $260,000.00 for the company. The IRS did not have a record
of Lioness Community Care Corp. filing traditional tax forms with the IRS, specifically the
Form 940 that accompanied the PPP application submitted to the financial institution which
substantiated approximately $3,116,250.06 being paid to employees as wages in 2019.

PPP LOAN #4

64. On or about May 19, 2020, Jason Coleman submitted a PPP application acting on
behalf of JJ Express Transport for $1,995,000.00. Celtic Bank approved the application on or
about May 20, 2020, and wired the approved amount to Chase Bank account #397869600. The
application listed 62 employees with an average monthly payroll of $798,000.00 for the company.
The IRS did not have a record of JJ Express Transport filing traditional tax forms with the IRS,

specifically the Form 940 that accompanied the PPP application submitted to the financial

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institution which substantiated approximately $9,690,747.70 being paid to employees as wages in
2019,

PPP LOAN #5

65. | Onor about May 23, 2020, Jason Coleman submitted a PPP application acting on
behalf of Coco’s Assisted Living Home LLC for $137,500.00. PayPal Webbank Corp. USA
approved the application on or about May 26, 2020, and wired the approved amount to Chase
Bank account #279060690. The application listed 10 employees with an average monthly payroll
of $55,000.00 for the company. The IRS did not have a record of Coco’s Assisted Living Home
LLC filing traditional tax forms with the IRS, specifically the Form 940 that accompanied the PPP
application submitted to the financial institution which substantiated approximately $2,559,776.83
being paid to employees as wages in 2019.

PPP LOAN #6

66. Onor about May 23, 2020, Kimberly Coleman submitted a PPP application acting
on behalf of Al Home Care Software LLC for $1,999,997.00. Celtic Bank approved the loan on
or about May 29, 2020, and wired the approved amount to Chase Bank account #583811127.
The application listed 104 employees with an average monthly payroll of $799,999.00 for the
company. The IRS did not have a record of Al Home Care Software LLC filing traditional tax
forms with the IRS, specifically the Form 940 that accompanied the PPP application submitted to
the financial institution which substantiated approximately $12,690,264.84 being paid to
employees as wages in 2019.

PPP LOAN #7

67. Onor about May 27, 2020, Jason Coleman submitted a PPP application acting on

behalf of Empress Home Care Services LLC for $1,999,997.00. Bluevine approved the

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application on or about May 28, 2020, and Celtic Bank wired the approved amount to Chase Bank
account #356068657. The application listed 76 employees with an average monthly payroll of
$799,999.00 for the company. The IRS did not have a record of Empress Home Care Services
LLC filing traditional tax forms with the IRS, specifically the Form 940 that accompanied the PPP
application submitted to the financial institution which substantiated approximately $9,690,747.70
being paid to employees as wages in 2019.

PPP LOAN #8

68. On or about May 27, 2020, Jason Coleman submitted a PPP application acting on
behalf of New Beginnings Learning Center LLC for $885,955.93. Celtic Bank approved the
loan on or about June 18, 2020, and Square Capital wired the approved amount to Chase Bank
account #397828622. The application listed 32 employees and requested $885,955.93 for
assistance related to the COVID-19 pandemic impacting the business. The IRS did not have a
record of New Beginnings Learning Center LLC filing traditional tax forms with the IRS,
specifically the Form 940 that accompanied the PPP application submitted to the financial
institution which substantiated approximately $4,252,588.44 being paid to employees as wages in
2019.

PPP LOAN #9

69, On June 30, 2020, Jason Coleman submitted a PPP application acting on behalf of
Coleman Family Freight Logistics LLC for $2,125,000.00. Newtek Small business Finance
approved the loan on or about July 3, 2020, and wired the approved amount to Bank of America
account #457031411693. The application listed 114 employees with an average monthly payroll
of $850,000.00 for the company. The IRS did not have a record of Coleman Family Freight

Logistics LLC filing traditional tax forms with the IRS, specifically the Form 940 that

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accompanied the PPP application submitted to the financial institution which substantiated
approximately $2,679, 130.72 being paid to employees as wages in 2019.

PPP LOAN #10

70. On or about February 8, 2021, Kimberly Coleman submitted a PPP application
acting on behalf of Lioness Community Care of Ohio LLC for $885,955.00. AMUR Equipment
Finance approved the loan on or about February 18, 2021, and issued an ACH transfer for the
approved amount to Bank of America account #457031411732. The application listed 85
employees with an average monthly payroll of $354,382 for the company. The IRS did not have
a record of Lioness Community Care of Ohio LLC filing traditional tax forms with the IRS,
specifically the Form 940 that accompanied the PPP application submitted to the financial
institution which substantiated approximately $4,252,588.44 being paid to employees as wages in
2019.

ILLEGAL ACTIVITIES - HIGHLIGHTED EXAMPLES

Jason Coleman Chase Bank account #369050171

71. On or about May 21, 2020, an online transfer in the amount of $1,995,003.51 was
made from JJ Express Transport LLC’s Chase Bank account #397869600 to Jason Coleman’s
Chase Bank account #369050171. (NOTE: Prior to this transaction, the account had a balance
of $241.09).

72. On or about May 21, 2020, an online transfer in the amount of $80,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Coco’s Assisted Living

Home LLC’s Chase Bank account #279060690.

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73. On or about May 22, 2020, an online transfer in the amount of $31,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Coco’s Assisted Living
Home LLC’s Chase Bank account #279060690.

74, On or about May 26, 2020, an online transfer in the amount of $15,000.00 was
; made from Jason Coleman’s Chase Bank account #369050171 to Coco’s Assisted Living
Home LLC’s Chase Bank account #279060690.

75, On or about June 8, 2020, an online transfer in the amount of $1,000,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to JJ Express Transport LLC’s
Chase Bank account #397869600.

76. On or about June 11, 2020, a cash deposit in the amount of $1,996,992.92 was made
to Jason Coleman’s Chase Bank account #369050171, the same date and amount as a
withdrawal from Empress Home Care Services LLC’s Chase Bank account #356068657.

77. On or about June 11, 2020, a manual debit in the amount of $800,600.00 was made
from Jason Coleman’s Chase Bank account #369050171 to J.P.Morgan Securities LLC
MAFP Investment account #83263992.

78. On or about June 22, 2020, a manual credit in the amount of $18,000.00 was made
to Jason Coleman’s Chase Bank account #369050171 from J.P.Morgan Securities LLC
MAFP Investment account #83263992.

79. On or about June 24, 2020, a purchase in the amount of $17,370.00 was made at
Nash Powersports, Mesa AZ, with Card 7236 from Jason Coleman’s Chase Bank account

#369050171.

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80. On or about July 9, 2020, a manual credit in the amount of $25,000.00 was made
to Jason Coleman’s Chase Bank account #369050171 from J.P.Morgan Securities LLC
MAFP Investment account #83263992.

81. On or about July 9, 2020, an online transfer in the amount of $16,500.00 was made
from Jason Coleman’s Chase Bank account #369050171 to Coco’s Assisted Living Home
LLC’s Chase Bank account #279060690.

82. On or about July 23, 2020, a manual credit in the amount of $14,000.00 was made
to Jason Coleman’s Chase Bank account #369050171 from J.P.Morgan Securities LLC
MAFP Investment account #83263992.

83. On or about July 23, 2020, an online transfer in the amount of $44,000.00 was made
from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase Bank
account #629172369.

84, On or about August 13, 2020, an online transfer in the amount of $262,698.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Coco’s Assisted Living
Home LLC’s Chase Bank account #279060690.

85. On or about August 20, 2020, a manual credit in the amount of $28,000.00 was
made to Jason Coleman’s Chase Bank account #369050171 from J.P.Morgan Securities LLC
MAFP Investment account #83263992.

86. On or about August 20, 2020, an online transfer in the amount of $28,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase

Bank account #629172369,

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87. On or about August 27, 2020, a manual debit in the amount of $200,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to J.P.Morgan Securities LLC
MAFP Investment account #83263992,

88. On or about August 28, 2020, a manual credit in the amount of $17,000.00 was
made to Jason Coleman’s Chase Bank account #369050171 from J.P.Morgan Securities LLC
MAFP Investment account #83263992.

89. On or about August 28, 2020, an online transfer in the amount of $17,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

90. On or about September 1, 2020, an international wire transfer in the amount of
$56,020.00 was made from Jason Coleman’s Chase Bank account #369050171 to Pineland
Realty S.A. in Honduras, Pymt Reason: None of the Above.

91, On or about September 1, 2020, an international wire transfer in the amount of
$56,020.00 was made from Jason Coleman’s Chase Bank account #369050171 to Pineland
Realty S.A. in Honduras, Ref: Purchase of Property, Pymt Reason: Personal Expenses.

92. On or about September 9, 2020, an online transfer in the amount of $11,000.00 was
made from Jason Coleman’s Chase Bank account #629172369 to Jason Coleman’s Chase
Bank account #369050171.

93. On or about September 10, 2020, an international wire transfer in the amount of
$11,000.00 was made from Jason Coleman’s Chase Bank account #369050171 to Hohny

Bodden Ebanks in Honduras, with reference Funding Investments.

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94, On or about September 15, 2020, a wire transfer in the amount of $10,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Empire West Title Agency
LLC, Phoenix, AZ 85016, Ref:Bnf/Escrow 136591 EW.

95. On or about September 21, 2020, an international wire transfer in the amount of
$112,000.00 was made from Pineland Realty S.A. in Honduras Ref: Bene Jason Coleman was
deposited to Jason Coleman’s Chase Bank account #369050171.

96. On or about September 29, 2020, an international wire transfer in the amount of
$11,000.00 was made from Jason Coleman’s Chase Bank account #369050171 to Hohny
Bodden Ebanks in Honduras, with reference Funding Investments.

97. On or about October 3, 2020, a withdrawal in the amount of $425,206.37 was made
from Jason Coleman’s Chase Bank account #369050171 for Cashier’s Check No. 9097243023,
Pay To The Order Of: Empire West Title Agency, Memo: (Blank), with hand-written escrow file
number “136591” on the check.

98. On or about October 9, 2020, a withdrawal in the amount of $57,943.00 was made
from Jason Coleman’s Chase Bank account 4369050171 for Cashier’s Check No. 901325645,
Pay To The Order Of: Sun Valley Solar Solutions LLC.

99. On or about November 9, 2020, a withdrawal in the amount of $66,280.19 was
made from Jason Coleman’s Chase Bank account #369050171 for Cashier’s Check No.
9013256759, Pay To The Order Of: Coulter Cadillac.

100. On or about November 12, 2020, a manual credit in the amount of $33,000.00 was
made to Jason Coleman’s Chase Bank account #369050171 from J.P.Morgan Securities LLC

MAFP Investment account #83263992.,

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101. On or about November 13, 2020, an online transfer in the amount of $33,000.00
was made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369,

102. Onor about November 19, 2020, a purchase in the amount of $11,533.00 was made
at Infini Cosmetic, Scottsdale, AZ (NOTE: Infini Cosmetic Associates conducts Liposuction
Surgery), with Card 1048 from Jason Coleman’s Chase Bank account #369050171.

103. Onor about December 18, 2020, a manual credit in the amount of $30,000.00 was
made to Jason Coleman’s Chase Bank account #369050171 from J.P.Morgan Securities LLC
MAFP Investment account #83263992.

104. On or about December 18, 2020, an online transfer in the amount of $10,000.00
was made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

105. On or about December 24, 2020, a purchase with PIN in the amount of $7,177.92
was made at Kay Jewelers #12, 6555 Mesa, AZ, with Card 1048 from Jason Coleman’s Chase
Bank account #369050171.

106. On or about January 14, 2021, a purchase in the amount of $14,500.00 was made
at James J. Elist, MD AM, Beverly Hills, CA (NOTE: Dr. Elist conducts Penile Enlargement
Surgery), with Card 1048 from Jason Coleman’s Chase Bank account #369050171.

107. Onor about February 17, 2021, a purchase in the amount of $21,200.00 was made
at Gal Aharonov, MD, Beverly Hills, CA (NOTE: Dr. Aharonov conducts Facial Plastic and

Cosmetic Surgery), with Card 1048 from Jason Coleman’s Chase Bank account #369050171.

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108. On or about February 20, 2021, a purchase with PIN in the amount of $14,508.75
was made at MSK Design, Los Angeles, CA, with Card 1048 from Jason Coleman’s Chase Bank
account #369050171.

109. On or about April 6, 2021, a Vrbo payment in the amount of $13,626.33 was
deposited to Jason Coleman’s Chase Bank account #369050171.

110.  Onor about April 13, 2021, a manual credit in the amount of $50,000.00 was made
to Jason Coleman’s Chase Bank account #369050171 from J.P.Morgan Securities LLC
MAFP Investment account #83263992.

111. On or about June 9, 2021, a manual credit in the amount of $20,000.00 was made
to Jason Coleman’s Chase Bank account #369050171 from J.P.Morgan Securities LLC
MAFP Investment account #83263992.

112. On or about June 30, 2021, a manual credit in the amount of $1,025,199.00 was
made to Jason Coleman’s Chase Bank account #369050171 from J.P.Morgan Securities LLC
MAFP Investment account #83263992.

113. On or about July 8, 2021, an international wire transfer in the amount of
$1,000,000.00 was made from Jason Coleman’s Chase Bank account #369050171 to AIX
Investment LLC, Dubai, U.A.E., Reference: Jason Coleman, Pymt Reason: FIS.

Kimberly Coleman Chase Bank account #362503093

114, On or about May 19, 2020, an online transfer in the amount of $251,000.00 was
made from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to

Kimberly Coleman’s Chase Bank account #362503093.

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115. On or about May 19, 2020, an online transfer in the amount of $20,000.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to Lioness Care of Arizona
LLC’s Chase Bank account #526709180.

116. On or about May 27, 2020, an online transfer in the amount of $14,165.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to JJ Express Transport
LLC’s Chase Bank account #397869600.

117. On or about May 28, 2020, an online transfer in the amount of $327,000.00 was
made from Victorious Franchises LLC’s Chase Bank account #583820979 to Kimberly
Coleman’s Chase Bank account #362503093.

118. Onor about June 1, 2020, a manual debit in the amount of $500,000.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 to J.P.Morgan Securities LLC
Mutual Fund Advisory Portfolio Investment Account Number: 83262854,

119. On or about June 16, 2020, an online transfer in the amount of $55,000.00 was
made from Victorious Franchises LLC’s Chase Bank account #583820979 to Kimberly
Coleman’s Chase Bank account #362503093.

120. On or about June 16, 2020, a withdrawal in the amount of $53,123.62 was made
from Kimberly Coleman’s Chase Bank account #362503093 for Cashier’s Check No.
9097241665, Pay To The Order Of: My Cars, LLC.

121. On or about June 18, 2020, an online transfer in the amount of $1,150,000.00 was
made from Al Home Care Software, LLC’s Chase Bank account #583811127 to Kimberly

Coleman’s Chase Bank account #362503093.

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122. On or about June 18, 2020, an online transfer in the amount of $375,000.00 was
made from New Beginnings Childcare Center LLC’s Chase Bank account #397828622 to
Kimberly Coleman’s Chase Bank account #362503093.

123. On or about June 18, 2020, a manual debit in the amount of $1,000,000.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to J.P.Morgan Securities
LLC POLFGE Investment Account Number: 83264948.

124. Onor about June 18, 2020, a withdrawal in the amount of $525,000.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 for Cashier’s Check No.
9097241699, Pay To The Order Of: Luxury Auto Collection, for purchase of 2019 Rolls Royce
Cullinan and 2020 Mercedes-Benz Sprinter van.

125. Onor about June 23, 2020, a manual credit in the amount of $10,200.00 was made
to Kimberly Coleman’s Chase Bank account #362503093 from J.P.Morgan Securities LLC
Mutual Fund Advisory Portfolio Investment Account Number: 83262854,

127. On or about July 9, 2020, a manual credit in the amount of $12,000.00 was made
to Kimberly Coleman’s Chase Bank account #362503093 from J.P.Morgan Securities LLC
Mutual Fund Advisory Portfolio Investment Account Number: 83262854.

128. On or about July 9, 2020, a wire transfer in the amount of $14,812.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 to Healy Consultants Group
LLC, San Francisco, CA 94108, Ref: Kimberly Coleman.

129. Onor about August 28, 2020, a wire transfer in the amount of $18,000.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 to Ayers and Stolte, Kilmarnock,

VA 22482.

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130. On or about August 31, 2020, an online transfer in the amount of $10,000.00 was
made from New Beginnings Childcare Center LLC’s Chase Bank account #397828622 to
Kimberly Coleman’s Chase Bank account #362503093.

131. On or about October 6, 2020, a manual credit in the amount of $15,000.00 was
made to Kimberly Coleman’s Chase Bank account #362503093 from J.P.Morgan Securities
LLC POLFGE Investment Account Number: 83264948.

132. Onor about October 6, 2020, a manual credit in the amount of $8,900.00 was made
to Kimberly Coleman’s Chase Bank account #362503093 from J.P.Morgan Securities LLC
Mutual Fund Advisory Portfolio Investment Account Number: 83262854.

133. On or about November 17, 2020, an online transfer in the amount of $9,999.99 was
made from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to
Kimberly Coleman’s Chase Bank account #362503093.

134. On or about November 23, 2020, an online transfer in the amount of $45,000.00
was made from We Mean to Clean LLC’s Chase Bank account #307502077 to Kimberly
Coleman’s Chase Bank account #362503093.

135. Onor about November 21, 2020, a purchase with PIN in the amount of $44,666.48
was made at LHM Bell Road, Peoria, AZ (NOTE: Larry H Miller Auto Group), with Card 0633
from Kimberly Coleman’s Chase Bank account #362503093.

136. On or about November 30, 2020, an online transfer in the amount of $14,000.00
was made from We Mean to Clean LLC’s Chase Bank account 4307502077 to Kimberly

Coleman’s Chase Bank account #362503093.

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137. Onor about December 23, 2020, an online transfer in the amount of $7,340.00 was
made from Borrow My Credentials LLC’s Chase Bank account #526782765 to Kimberly
Coleman’s Chase Bank account #362503093.

138. On or about January 9, 2021, an online transfer in the amount of $11,055.50 was
made from Al Home Care Software, LLC’s Chase Bank account #583811127 to Kimberly
Coleman’s Chase Bank account #362503093.

139. Onor about January 12, 2021, an online transfer in the amount of $20,000.00 was
made from Lioness Community Care of Arizona LLC’s Chase Bank account #526709115 to
Kimberly Coleman’s Chase Bank account #362503093.

140. Onor about January 12, 2021, a withdrawal in the amount of $20,000.00 was made
from Kimberly Coleman’s Chase Bank account #362503093, which together with withdrawals
from eight other accounts equaled a cash deposit in the amount of $492,000.00 into the Coleman
Real Estate Services LLC Chase Bank account #397858918, on January 12, 2021.

141. On or about January 14, 2021, an online transfer in the amount of $5,000.00 was
made from Lioness Community Care of Arizona LLC’s Chase Bank account #526709115 to
Kimberly Coleman’s Chase Bank account 4362503093.

142. On or about January 14, 2021, an online transfer in the amount of $5,000.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to Coleman Real Estate
Services LLC’s Chase Bank account #397858918. |

143. On or about February 3, 2021, an online transfer in the amount of $9,182.13 was
made from Lioness Community Care of Arizona LLC’s Chase Bank account #526709115 to

Kimberly Coleman’s Chase Bank account #362503093.

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144. On or about February 3, 2021, an online transfer in the amount of $6,000.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to Lioness Community
Care Corp.’s Chase Bank account #526762379.

145. On or about February 11, 2021, Check No. 11264 (dated September 17, 2020) in
the amount of $10,610.00 was deposited to Kimberly Coleman’s Chase Bank account
#362503093 from Ayers and Stolte, payable to Lioness Community Care of Virginia LLC,
with File #RC200286.

147. On or about February 16, 2021, an online transfer in the amount of $8,000.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to Lioness Community
Care Corp.’s Chase Bank account #526709180.

148. Onor about March 3, 2021, an online transfer in the amount of $9,000.00 was made
from Lioness Community Care Corp.’s Chase Bank account #526709180 to Kimberly
Coleman’s Chase Bank account #362503093.

149. On or about March 3, 2021, a purchase was made in the amount of $1,736.82 at
Bentley Scottsdale, Phoenix, AZ, with Card 0633 from Kimberly Coleman’s Chase Bank
account #362503093.

150. On or about April 20, 2021, an online transfer in the amount of $50,000.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to Lioness Community
Care of Arizona LLC’s Chase Bank account #526709107.

151. On or about April 28, 2021, an online transfer in the amount of $20,000.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to Lioness Community

Care of Arizona LLC’s Chase Bank account #526709107.

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152. On or about May 6, 2021, a wire transfer in the amount of $30,000.00 was made
from Kimberly Coleman’s CitiBank account #42032092829 to Kimberly Coleman’s Chase
Bank account #362503093.

153. On or about May 12, 2021, an online transfer in the amount of $7,750.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 to Lioness Community Care of
Arizona LLC’s Chase Bank account #526709107.

154. On or about May 27, 2021, a wire transfer in the amount of $20,000.00 was made
from Kimberly Coleman’s CitiBank account #42032092829 to Kimberly Coleman’s Chase
Bank account #362503093.

155. Onor about June 4, 2021, an online transfer in the amount of $25,000.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 to Lioness Community Care of
Arizona LLC’s Chase Bank account #526709107.

156. Onor about June 5, 2021, an online transfer in the amount of $15,503.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 to JJ Express Transport LLC’s
Chase Bank account #397869600.

157. Onor about June 9, 2021, an online transfer in the amount of $20,000.00 was made
from Lioness Community Care of Arizona LLC’s Chase Bank account #526709107 to
Kimberly Coleman’s Chase Bank account #362503093.

158. On or about June 10, 2021, an international wire transfer in the amount of
$50,000.00 was made from Kimberly Coleman’s Chase Bank account #362503093 to AIX

Investment LLC, Ref: Kimberly Edwards.

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159. On or about June 11, 2021, a wire transfer in the amount of $10,000.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 to One Up Services LLC Miami,
FL 33137-3255, Ref: Kimberly Coleman Victorious Franchises.

160. On or about June 11, 2021, an online transfer in the amount of $15,000.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Kimberly Coleman’s Chase Bank account #362503093.

161. On or about June 14, 2021, a wire transfer in the amount of $16,000.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 to Kimberly Coleman’s Bank of
America account #457031408745.

| 162. On or about June 16, 2021, an online transfer in the amount of $15,665.00 was
made from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to
Kimberly Coleman’s Chase Bank account #362503093.

163. Onor about June 25, 2021, a wire transfer in the amount of $12,000.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 to Kimberly Coleman’s Bank of
America account #457031408745.

164. On or about June 25, 2021, a wire transfer in the amount of $25,000.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 to One Up Services LLC Miami,
FL 33137-3255, Ref: Kimberly Coleman Victorious Franchises.

165. On or about July 2, 2021, a wire transfer in the amount of $50,000.00 was made
from Kimberly Coleman’s Chase Bank account #362503093 for Evolve Bank and Trust,

Memphis, TN 38119.

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166. Onor about July 13, 2021, an online transfer in the amount of $25,000.00 was made
from Lioness Community Care of Arizona LLC’s Chase Bank account #526709107 to
Kimberly Coleman’s Chase Bank account #362503093.

167. Onor about July 14, 2021, an online transfer in the amount of $27,927.00 was made
from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to Kimberly
Coleman’s Chase Bank account #362503093.

168. On or about July 14, 2021, a wire transfer in the amount of $26,916.67 was made
from Kimberly Coleman’s Chase Bank account #362503093 to HUB Reality [sic], Watford
City, ND 58854, Ref: Coleman.

169. Onor about July 26, 2021, an online transfer in the amount of $9,600.00 was made
from Lioness Community Care of Arizona LLC’s Chase Bank account #526709115 to
Kimberly Coleman’s Chase Bank account #362503093.

Jason Coleman Chase Bank account #629172369

170. Onor about July 23, 2020, an online transfer in the amount of $44,000.00 was made
from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase Bank
account #629172369.,

171. On or about July 31, 2020, an online transfer in the amount of $5,000.00 was made
from Jason Coleman’s Chase Bank account #629172369 to Coco’s Assisted Living Home
LLC’s Chase Bank account #279060690.

172. On or about August 7, 2020, a purchase in the amount of $5,000.00 was made at
Coulter Cadillac Phoenix, AZ, with Card 7985 from Jason Coleman’s Chase Bank account

#629172369.

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173. On or about August 20, 2020, an online transfer in the amount of $28,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

174. On or about August 28, 2020, an online transfer in the amount of $17,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369,

175, Onor about September 9, 2020, an online transfer in the amount of $11,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

176. Onor about September 14, 2020, an online transfer in the amount of $3,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369,

177. Onor about September 17, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369. |

178. Onor about September 22, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #629172369 to Coco’s Assisted Living
Home LLC’s Chase Bank account #279060690.

179. Onor about September 24, 2020, an online transfer in the amount of $3,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase

Bank account #629172369.

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180. Onor about September 29, 2020, an online transfer in the amount of $2,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

181. Onor about September 30, 2020, an online transfer in the amount of $7,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

182. On or about September 30, 2020, an online transfer in the amount of $3,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

183. On or about October 2, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

184. On or about October 5, 2020, an online transfer in the amount of $2,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

185. On or about October 6, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

186. On or about October 9, 2020, an online transfer in the amount of $1,200.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase

Bank account #629172369.,

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187. On or about October 9, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

188. On or about October 13, 2020, an online transfer in the amount of $2,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

189. On or about October 14, 2020, an online transfer in the amount of $2,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

190. On or about October 14, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

191. On or about October 14, 2020, another online transfer in the amount of $1,000.00
was made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369,

192. On or about October 19, 2020, an online transfer in the amount of $2,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

193. On or about October 22, 2020, an online transfer in the amount of $1,500.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase

Bank account #629172369,

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194. On or about October 23, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

195. On or about October 26, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

196. On or about October 28, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

197. Onor about November 2, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

198. On or about November 3, 2020, an online transfer in the amount of $2,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

199, Onor about November 5, 2020, an online transfer in the amount of $3,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.,

200. On or about November 5, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase

Bank account #629172369.,

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201. On or about November 6, 2020, an online transfer in the amount of $4,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

202. On or about November 13, 2020, an online transfer in the amount of $33,000.00
was made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369,

203. On or about November 24, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #629172369 to Coco’s Assisted Living
Home LLC’s Chase Bank account #279060690.

204. On or about December 15, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #629172369 to Coco’s Assisted Living
Home LLC’s Chase Bank account #279060690.

205. Onor about December 17, 2020, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

206. On or about December 18, 2020, an online transfer in the amount of $10,000.00
was made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

207. On or about January 6, 2021, an online transfer in the amount of $2,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase

Bank account #629172369.

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208. On or about January 11, 2021, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369,

209. On or about January 14, 2021, an online transfer in the amount of $2,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

210. On or about January 19, 2021, an online transfer in the amount of $3,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

211. On or about January 25, 2021, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

212. On or about January 25, 2021, another online transfer in the amount of $1,000.00
was made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

213. On or about January 27, 2021, an online transfer in the amount of $3,500.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

214. On or about January 27, 2021, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase

Bank account #629172369.,

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215. On or about January 28, 2021, an online transfer in the amount of $1,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

216. On or about January 29, 2021, an online transfer in the amount of $1,600.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

217. On or about February 8, 2021, an online transfer in the amount of $4,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

218. On or about February 8, 2021, an online transfer in the amount of $3,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369,

219. Onor about February 10, 2021, an online transfer in the amount of $2,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

220. On or about February 22, 2021, an online transfer in the amount of $2,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369.

221. Onor about February 25, 2021, an online transfer in the amount of $1,500.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase

Bank account #629172369,

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222. On or about March 22, 2021, an online transfer in the amount of $2,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase
Bank account #629172369,

223. Onor about April 7, 2021, an online transfer in the amount of $3,500.00 was made
from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase Bank
account #629172369.

224. Onor about April 29, 2021, an online transfer in the amount of $8,000.00 was made
from Jason Coleman’s Chase Bank account #369050171 to Jason Coleman’s Chase Bank
account #629172369.

Kimberly Coleman Citibank accounts #42032092829 and #42032092837

225. On or about February 23, 2021, a wire transfer in the amount of $200,000.00 was
made from Lioness Community Care of Ohio LLC’s Bank of America #457031411732 to
Kimberly Coleman’s CitiBank account #42032092829, Reference: Payables.

226. On or about February 23, 2021, a wire transfer in the amount of $425,000.00 was
made from Lioness Community Care of Ohio LLC’s Bank of America #457031411732 to
Kimberly Coleman’s Citibank account #42032092837.

227. On or about March 18, 2021, a wire transfer in the amount of $372,206.04 was
made from Citibank account #42032092829 to Driggs Title Agency, Reference: 21-03-
190810CC, 1808 Ryan Court, Prescott, AZ 86301.

228. On or about April 1, 2021, a wire transfer in the amount of $5,000.00 was made
from Citibank account #42032092829 to CST Data’s Fifth Third Bank account #7934750766,

Reference: Payroll.

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229. On or about April 7, 2021, a wire transfer in the amount of $12,944.45 was made
from Citibank account #42032092829 to CST Data’s Fifth Third Bank account #7934750766,
Reference: Rent for Jerry M.

230. On or about April 12, 2021, a wire transfer in the amount of $4,600.00 was made
from Citibank account #42032092829 to CST Data’s Fifth Third Bank account #7934750766,
Reference: Arden Business Payment for April.

231. Onor about April 13, 2021, a wire transfer in the amount of $35,000.00 was made
from Citibank account #42032092829 to Kimberly Coleman’s Bank of America account
#457031408745.

232. On or about May 6, 2021, a wire transfer in the amount of $30,000.00 was made
from Citibank account #42032092829 to Kimberly Coleman’s Chase Bank account
#362503093.

233. On or about May 13, 2021, a wire transfer in the amount of $2,500.00 was made
from Citibank account #42032092829 to Kimberly Coleman’s Bank of America account
#457031408745.

234. On or about May 13, 2021, a wire transfer in the amount of $3,000.00 was made
from Citibank account #42032092829 to Blake Home Health Wells Fargo account
#1048283889, Reference: Payroll Account.

235. Onor about May 27, 2021, a wire transfer in the amount of $20,000.00 was made
from Citibank account #42032092829 to Kimberly Coleman’s Chase Bank account

#362503093 Reference: Kimberly Coleman.

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236. On or about June 1, 2021, a purchase in the amount of $27,804.20 was made at
Atlantis, The Palm Hotel, Dubai (NOTE: United Arab Emirates), with Card 0724 from Citi
Bank account #42032092829.

237, Onor about June 5, 2021, a purchase in the amount of $14,431.20 was made at VIP
Rent A Car LLC, Dubai (NOTE: United Arab Emirates), with Card 0724 from Citi Bank
account #42032092829.

238. Onor about June 14, 2021, a wire transfer in the amount of $16,000.00 was made
from Citi Savings account #42032092837 to Kimberly Coleman’s Bank of America account
#457031408745.

239. On or about July 16, 2021, a purchase in the amount of $9,600.00 was made at
Planet Geek LLC (NOTE: Home Automation Company, 431 S. Stapley Dr., Unit 28, Mesa, AZ
85204), with Card 0724 from Citi Bank account #42032092829.

Coleman Real Estate Services LLC’s Chase Bank account #397858918

240. On or about May 18, 2020, an ACH transfer in the amount of $1,442,075.00 was
made from Bluevine via Celtic Bank to Coleman Real Estate Services LLC’s Chase Bank
account #397858918 (NOTE: Prior to this transaction, the account had a balance of -$11.00).

241. Onor about May 19, 2020, a wire transfer in the amount of $600,000.00 was made
from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to Security Title
Agency, Inc. Ref: 63200658-063-MJ4.

242. On or about May 19, 2020, an online transfer in the amount of $251,000.00 was
made from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to

Kimberly Coleman’s Chase Bank account #362503093.

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243 Onor about May 20, 2020, an ACH transfer in the amount of $9,925.00 was made
from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to Safeco Ins,
Co., for name: Kimberly Coleman.

244. On or about June 8, 2020, an online transfer in the amount of $1,000,000.00 was
made from JJ Express Transport, LLC Chase Bank account #397869600 at Chase Bank, to
Coleman Real Estate Services LLC’s Chase Bank account #397858918.

245. On or about June 8, 2020, an online transfer in the amount of $700,000.00 was
made from Al Home Care Software, LLC Chase Bank account #583811127 to Coleman Real
Estate Services LLC’s Chase Bank account #397858918.

246. On or about June 6, 2020, a withdrawal in the amount of $2,133,910.63 was made
from Coleman Real Estate Services LLC’s Chase Bank account #397858918 for Cashier’s
Check No. 9011821792, Remitter: Kimberly Coleman, Pay To The Order Of: Ron Swanson
Holdings, LLC.

247. On or about October 28, 2020, a cash deposit in the amount of $300,000.00 was
made to Coleman Real Estate Services LLC’s Chase Bank account #397858918, the same date
and amount as a withdrawal from New Beginnings Learning Center LLC Chase Bank account
#397828622.

248. On or about October 28, 2020, a wire transfer in the amount of $407,000.00 was
made from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to Secure
Title Latin America, Inc.

249. On or about October 30, 2020, an online transfer in the amount of $300,000.00 was
made from Lioness Community Care Corp. Chase Bank account #526762379 to Coleman

Real Estate Services LLC’s Chase Bank account #397858918.

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250. On or about November 6, 2020, a wire transfer in the amount of $406,975.00 was
made to Coleman Real Estate Services LLC’s Chase Bank account #397858918 from Secure
Title Latin America, Inc. Ref: Escrow 20 Pp 10 002814.

251. Onor about November 6, 2020, a wire transfer in the amount of $180,000.00 was
made from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to Secure
Title Latin America, Inc. Ref: 106 Coronado.

252. On or about November 6, 2020, an international wire transfer in the amount of
$407,000.00 was made from Coleman Real Estate Services LLC’s Chase Bank account
#397858918 to MHM Nexus Consulting SA De CV in Monterrey, Mexico, Ref: 801.

253. Onor about November 17, 2020, an online transfer in the amount of $9,999.99 was
made from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to
Kimberly Coleman’s Chase Bank account #362503093.

254. Onor about November 28, 2020, an ACH transfer in the amount of $35,000.00 was
made from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to “HS”
with an account ending in 6699.

255. On or about December 16, 2020, an online transfer in the amount of $100,000.00
was made from We Mean To Clean LLC Chase Bank account #307502077 to Coleman Real
Estate Services LLC’s Chase Bank account #397858918.

256. Onor about December 16, 2020, a wire transfer in the amount of $125,000.00 was
made from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to Driggs

Title Agency, Ref: 20-12-185075CC.

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257. On or about January 12, 2021, a cash deposit in the amount of $492,000.00 was
made to Coleman Real Estate Services LLC Chase Bank account #397858918, the same date
and cumulative amount as cash withdrawals from nine Chase Bank accounts, as follows:

a. $25,000.00 was made from Coleman Family Freight Logistics LLC Chase
Bank account #660555118;

b. $20,000.00 was made from Kimberly Coleman Chase Bank account
#362503093;

c. $99,000.00 was made from We Mean To Clean LLC Chase Bank account
#307502077;

d. $18,000.00 was made from New Beginnings Learning Center LLC Chase Bank
account #397828622;

e. $140,000.00 was made from Lioness Community Care of Virginia LLC Chase
Bank account #526731622;

f. $87,000.00 was made from Lioness Community Care Corp. Chase Bank
account #526762379;

g. $19,000.00 was made from Borrow My Credentials LLC Chase Bank account
#526782765;

h. $39,000.00 was made from Al Home Care Software LLC Chase Bank account
#583811127; and

i. $45,000.00 was made from Victorious Franchises LLC Chase Bank account

#583820979.

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258. On or about January 12, 2021, a wire transfer in the amount of $548,678.71 was
made from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to Driggs
Title Agency, Ref: 20-12-185075CC, Property: 1301 N. Val Vista Drive, Mesa, AZ 85213.

259. On or about January 14, 2021, an online transfer in the amount of $5,000.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to Coleman Real Estate
Services LLC’s Chase Bank account #397858918.

260. On or about January 14, 2021, an ACH transfer in the amount of $10,436.99 was
made from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to Burns
& Wilcox, Name: Aimpro Ins. |

261. On or about April 14, 2021, an online transfer in the amount of $11,000.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to
Coleman Real Estate Services LLC’s Chase Bank account #397858918.

262. On or about May 17, 2021, a wire transfer in the amount of $26,916.67 was made
from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to Kimberly
Coleman’s Bank of America account #457031408745.

263. Onor about July 14, 2021, an online transfer in the amount of $27,927.00 was made
from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to Kimberly
Coleman’s Chase Bank account #362503093.

264. Onor about July 17, 2021, an online transfer in the amount of $10,175.00 was made
from Coleman Real Estate Services LLC’s Chase Bank account #397858918 to Kimberly

Coleman’s Chase Bank account #362503093.

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Empress Home Care Services LLC Chase Bank account #356068657

265. On or about May 29, 2020, an ACH transfer in the amount of $1,999,997.00 was
made from Bluevine via Celtic Bank to Empress Home Care Services LLC’s Chase Bank
account #356068657. (NOTE: Prior to this transaction, the account had a balance of -$162.08).

266. Onor about June 11, 2020, a withdrawal in the amount of $1,996,992.92 was made
from Empress Home Care Services LLC’s Chase Bank account #356068657, the same date
and amount as a cash deposit to Jason Coleman’s Chase Bank account #369050171.

267. Onor about August 3, 2020, a Zelle Payment in the amount of $9,125.65 was made
from Empress Home Care Services LLC’s Chase Bank account #356068657 to We Mean to
Clean LLC’s Chase Bank account #307502077.

Coco’s Assisted Living Home LLC later renamed Fisher Family Home, LLC North Chase
Bank account #279060690

268. On or about May 21, 2020, an online transfer in the amount of $80,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Coco’s Assisted Living
Home LLC’s Chase Bank account #279060690.

269. On or about May 21, 2020, a check in the amount of $12,668.76 was made from
Coco’s Assisted Living Home LLC’s Chase Bank account #279060690, Pay To The Order
Of: PNC Bank, Memo: XA 601008128539447, Name: Darla Coleman, 3164 Grand Concourse
APT 2E, Bronx, NY 10458.

270. On or about May 22, 2020, an online transfer in the amount of $31,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Coco’s Assisted Living

Home LLC’s Chase Bank account #279060690.

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271. On or about May 22, 2020, an online payment in the amount of $52,683.41 was
made from Coco’s Assisted Living Home LLC’s Chase Bank account #279060690 to Chrysler
Capital.

272. Onor about May 26, 2020, a wire transfer in the amount of $137,500.00 was made
from WebBank Corp. USA to Coco’s Assisted Living Home LLC’s Chase Bank account
#279060690.

273. On or about May 26, 2020, an online transfer in the amount of $15,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Coco’s Assisted Living
Home LLC’s Chase Bank account #279060690.

274. On or about June 1, 2020, an ACH transfer in the amount of $12,782.52 was made
from Coco’s Assisted Living Home LLC’s Chase Bank account #279060690 to Portnoff Law
Associates, Name: Jason Coleman.

275. On or about June 13, 2020, a purchase in the amount of $14,080.45 was made at
Ashley HomeStore, Mesa AZ, with Card 6976 from Coco’s Assisted Living Home LLC’s
Chase Bank account #279060690.

276. On or about June 14, 2020, an online transfer in the amount of $14,705.00 was
made from Coco’s Assisted Living Home LLC’s Chase Bank account #279060690 to JJ
Express Transport, LLC Chase Bank account #397869600.

277. Onor about June 14, 2020, an online transfer in the amount of $7,853.00 was made
from Coco’s Assisted Living Home LLC’s Chase Bank account #279060690 to JJ Express

Transport, LLC Chase Bank account #397869600.

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278. Onor about July 9, 2020, an online transfer in the amount of $16,500.00 was made
from Jason Coleman’s Chase Bank account #369050171 to Coco’s Assisted Living Home
LLC’s Chase Bank account #279060690.

279. Onor about July 9, 2020, an international wire transfer in the amount of $16,500.00
was made from Coco’s Assisted Living Home LLC’s Chase Bank account #279060690 to Anita
Beatrice Hall Welcome in Honduras, Ref: Thank you, Funding Investments.

280. On or about August 13, 2020, an online transfer in the amount of $262,698.00 was
made from Jason Coleman’s Chase Bank account #369050171 to Coco’s Assisted Living
Home LLC’s Chase Bank account #279060690.

281. On or about August 13, 2020, an online transfer in the amount of $262,698.00 was
made from Coco’s Assisted Living Home LLC’s Chase Bank account #279060690 to JJ
Express Transport, LLC Chase Bank account #397869600.

Al Home Care Software, LLC Chase Bank account #583811127

282. On or about June 1, 2020, an ACH transfer in the amount of $1,999,997.00 was
made from Bluevine via Celtic Bank to Al Home Care Software, LLC Chase Bank account
#583811127. (NOTE: Prior to this transaction, the account had a balance of -$10.00).

283. On or about June 6, 2020, an online transfer in the amount of $700,000.00 was
made from Al Home Care Software, LLC Chase Bank account #583811127 to Coleman Real
Estate Services LLC’s Chase Bank account #397858918.

284. On or about June 18, 2020, an online transfer in the amount of $1,150,000.00 was
made from Al Home Care Software, LLC Chase Bank account #583811127 to Kimberly

Coleman’s Chase Bank account #362503093.

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285. On or about August 23, 2020, an ACH transfer in the amount of $99,000.00 was
made from Al Home Care Software, LLC Chase Bank account #583811127 to “HS” with an
account ending in 6699.

286. On or about January 9, 2021, an online transfer in the amount of $11,055.50 was
made from Al Home Care Software, LLC Chase Bank account #583811127 to Kimberly
Coleman’s Chase Bank account #362503093.

287. Onor about January 12, 2021, a withdrawal in the amount of $39,000.00 was made
from Al Home Care Software, LLC Chase Bank account #583811127, which together with
withdrawals from eight other accounts equaled a cash deposit in the amount of $492,000.00 into
the Coleman Real Estate Services LLC Chase Bank account #397858918, on January 12, 2021.

Champion Auto Sales LLC Chase Bank account #629168995

288. Onor about September 11, 2020, a cash deposit in the amount of $104,376.85 was
made to Champion Auto Sales LLC Chase Bank account #629168995, the same date and
amount as a withdrawal from Lioness Community Care Corp Chase Bank account
#526762379.

289. On or about September 14, 2020, a wire transfer in the amount of $104,376.85 was
made from Champion Auto Sales LLC Chase Bank account #629168995 to CJNS LLC.

290. On or about October 15, 2020, a cash deposit in the amount of $182,154.75 was
made to Champion Auto Sales LLC Chase Bank account #629168995, the same date as a
withdrawal in the amount of $182,134.75 from New Beginnings Learning Center LLC Chase
Bank account #397828622.

291. On or about October 15, 2020, a withdrawal in the amount of $182,153.75 was

made from Champion Auto Sales LLC Chase Bank account #629168995 for Cashier’s Check

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No. 9015348770, Pay To The Order Of: Speed Auto Sales. (NOTE: The Cashier’s Check was
endorsed for deposit to Speed Auto Wholesalers DBA Speed Auto Sales and Leasing).

Borrow My Credentials LLC Chase Bank account #526782765

292. Onor about February 11, 2020, an online transfer in the amount of $16,750.00 was
made from Lioness Community Care of Arizona LLC’s Chase Bank account #526709115 to
Borrow My Credentials LLC Chase Bank account #526782765. (NOTE: Prior to this
transaction, the account had a balance of -$14.46).

293. On or about February 25, 2020, an online transfer in the amount of $3,103.00 was
made from Lioness Community Care of Arizona LLC’s Chase Bank account #526709115 to
Borrow My Credentials LLC Chase Bank account #526782765.

294. On or about March 2, 2020, an online transfer in the amount of $10,200.00 was
made from Lioness Community Care of Arizona LLC’s Chase Bank account #526709180 to
Borrow My Credentials LLC Chase Bank account #526782765.

295. Onor about March 5, 2020, an online transfer in the amount of $9,134.79 was made
from Borrow My Credentials LLC Chase Bank account #526782765 to Lioness Community
Care of Arizona LLC’s Chase Bank account #526709180.

296. On or about March 14, 2020, a cash withdrawal in the amount of $10,800.00 was
made from Borrow My Credentials LLC Chase Bank account #526782765, by Kimberly
Coleman.

297. On or about March 30, 2020, an online transfer in the amount of $8,519.00 was
made from Lioness Community Care of Arizona LLC’s Chase Bank account #526709115 to

Borrow My Credentials LLC Chase Bank account #526782765.

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298. On or about April 10, 2020, an online transfer in the amount of $12,300.00 was
made from Lioness Community Care of Arizona LLC’s Chase Bank account #526709115 to
Borrow My Credentials LLC Chase Bank account #526782765.

299. Onor about April 10, 2020, a wire transfer in the amount of $13,999.00 was made
from Borrow My Credentials LLC Chase Bank account #526782765 to Kimberly Coleman’s
Bank of America account #457031408745.

300. On or about June 15, 2020, an online transfer in the amount of $18,558.23 was
made from JJ Express Transport LLC Chase Bank account #397869600 to Borrow My
Credentials LLC Chase Bank account #526782765.

301. Onor about June 18, 2020, an ACH transfer in the amount of $10,000.00 was made
to Borrow My Credentials LLC Chase Bank account #526782765 from SBA Treas 310,
Reference Nte Pmt Eid.

302. Onor about December 23, 2020, an online transfer in the amount of $7,340.00 was
made from Borrow My Credentials LLC Chase Bank account #526782765 to Kimberly
Coleman’s Chase Bank account #362503093.

303. Onor about January 12, 2021, a withdrawal in the amount of $19,000.00 was made
from Borrow My Credentials LLC Chase Bank account #526782765, which together with
withdrawals from eight other accounts equaled a cash deposit in the amount of $492,000.00 into
the Coleman Real Estate Services LLC Chase Bank account #3978589 18, on January 12, 2021.

We Mean to Clean, LLC Chase Bank account #307502077

304. Onor about August 3, 2020, a Zelle Payment in the amount of $9,125.65 was made
from Empress Home Care Services LLC’s Chase Bank account #356068657 to We Mean to

Clean, LLC Chase Bank account #307502077.

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305. Onor about August 13, 2020, an online transfer in the amount of $262,706.00 was
made from JJ Express Transport, LLC Chase Bank account #397869600 to We Mean to
Clean, LLC Chase Bank account #307502077.

306. On or about November 21, 2020, an online transfer in the amount of $45,000.00
was made from We Mean to Clean, LLC Chase Bank account #307502077 to Kimberly
Coleman’s Chase Bank account #362503093.

307. On or about November 28, 2020, an online transfer in the amount of $14,000.00
was made from We Mean to Clean, LLC Chase Bank account #307502077 to Kimberly
Coleman’s Chase Bank account #362503093.

308. Onor about December 16, 2020, an online transfer in the amount of $100,000.00
was made from We Mean to Clean, LLC Chase Bank account #307502077 to Coleman Real
Estate Services LLC’s Chase Bank account #397858918.

309. On or about January 12, 2021, a withdrawal in the amount of $99,000.00 was made
from We Mean to Clean, LLC Chase Bank account #307502077, which together with
withdrawals from eight other accounts equaled a cash deposit in the amount of $492,000.00 into
the Coleman Real Estate Services LLC Chase Bank account #397858918, on January 12, 2021.

New Beginnings Learning Center LLC Chase Bank account #397828622

310. On or about June 18, 2020, an ACH transfer in the amount of $885,955.93 was
made from Square Inc to New Beginnings Learning Center LLC Chase Bank account
#397828622, Name: Jason Coleman (NOTE: Prior to this transaction, the account had a balance

of $1.00).

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311. On or about June 18, 2020, an online transfer in the amount of $375,000.00 was
made from New Beginnings Learning Center LLC Chase Bank account #397828622 to
Kimberly Coleman’s Chase Bank account #362503093.

312. On or about August 30, 2020, an online transfer in the amount of $10,000.00 was
made from New Beginnings Learning Center LLC Chase Bank account #397828622 to
Kimberly Coleman’s Chase Bank account #362503093.

313. On or about October 15, 2020, a withdrawal in the amount of $182,134.75 was
made from New Beginnings Learning Center LLC Chase Bank account #397828622, the same
date as a cash deposit of $182,154.75 to Champion Auto Sales LLC Chase Bank account
#629168995,

314. On or about October 28, 2020, a withdrawal in the amount of $300,000.00 was
made from New Beginnings Learning Center LLC Chase Bank account #397828622, the same
date and amount as a cash deposit to Coleman Real Estate Services LLC’s Chase Bank account
#3978589 18.

315. Onor about January 12, 2021, a withdrawal in the amount of $18,000.00 was made
from New Beginnings Learning Center LLC Chase Bank account #397828622, which together
with withdrawals from eight other accounts equaled a cash deposit in the amount of $492,000.00
into the Coleman Real Estate Services LLC Chase Bank account #397858918, on January 12,
2021.

Lioness Community Care of Ohio LLC Bank of America #457031411732

316. Onor about May 5, 2020, an ACH transfer in the amount of $10,000.00 was made
to Lioness Community Care of Ohio LLC’s Bank of America #457031411732 from SBAD

Treas 310, Pmt Info: NTE PMT EID.

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317. Onor about February 18, 2021, an ACH transfer in the amount of $885,955.00 was
made from AMUR Equipment Finance, Inc to Lioness Community Care of Ohio LLC’s Bank
of America #457031411732 (NOTE: Prior to this transaction, the account had a balance of
$2,001.00).

318. On or about February 23, 2021, a wire transfer in the amount of $200,000.00 was
made from Lioness Community Care of Ohio LLC’s Bank of America #457031411732 to
Kimberly Coleman’s Citibank account #42032092829, Ref: Payables.

319. On or about February 23, 2021, a wire transfer in the amount of $425,000.00 was
made from Lioness Community Care of Ohio LLC’s Bank of America #457031411732 to
Kimberly Coleman’s Citibank account #42032092837.

320. On or about March 1, 2021, an online transfer in the amount of $62,000.00 was
made from Lioness Community Care of Ohio LLC’s Bank of America #457031411732 to
Kimberly Coleman’s Bank of America account #457031408745.

321. Onor about March 3, 2021, a wire transfer in the amount of $41,000.00 was made
from Lioness Community Care of Ohio LLC’s Bank of America #457031411732 to Lioness
Community Care of Arizona LLC Chase Bank account #526709180.

322. On or about March 4, 2021, an online transfer in the amount of $40,000.00 was
made from Lioness Community Care of Ohio LLC’s Bank of America #457031411732 to
Kimberly Coleman’s Bank of America account #457031408745.

323. On or about March 15, 2021, an online transfer in the amount of $40,000.00 was
made from Lioness Community Care of Ohio LLC’s Bank of America #457031411732 to

Kimberly Coleman’s Bank of America account #457031408745.

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324. On or about March 31, 2021, an online transfer in the amount of $35,000.00 was
made from Lioness Community Care of Ohio LLC’s Bank of America #457031411732 to
Kimberly Coleman’s Bank of America account #457031408745.

Lioness Community Care of Virginia LLC Chase Bank account #526731622

325. On or about February 10, 2020, an online transfer in the amount of $8,623.00 was
made from JJ Express Transport LLC Chase Bank account #397869600 to Lioness
Community Care of Virginia LLC Chase Bank account #526731622.

326. Onor about May 14, 2020, an ACH transfer in the amount $243,783.43 was made
from Square Inc to Lioness Community Care of Virginia LLC Chase Bank account
#526731622 (NOTE: Prior to this transaction, the account had a balance of -$304.19).

327. On or about May 14, 2020, an online transfer in the amount of $13,000.00 was
made from Lioness Community Care of Virginia LLC Chase Bank account #526731622 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

328. On or about June 14, 2020, an online transfer in the amount of $11,000.00 was
made from Lioness Community Care of Virginia LLC Chase Bank account #526731622 to JJ
Express Transport LLC Chase Bank account #397869600.

329. Onor about August 22, 2020, an online payment in the amount of $10,000.00 was
made from Lioness Community Care of Virginia LLC Chase Bank account #526731622 to
Dept Of Ed - Great Lakes.

330. On or about August 24, 2020, a wire transfer in the amount of $1,000.00 was made
from Lioness Community Care of Virginia LLC Chase Bank account #526731622 to Ayers

and Stolte.

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331. Onor about October 2, 2020, a wire transfer in the amount of $10,349.20 was made
from Lioness Community Care of Virginia LLC Chase Bank account #526731622 to a Blake
Home Health Inc. Wells Fargo account, Ref: Blake Payroll.

332. Onor about October 30, 2020, a wire transfer in the amount of $4,500.00 was made
from Lioness Community Care of Virginia LLC Chase Bank account #526731622 to a Lioness
Community Care of Virginia Wells Fargo account.

333. On or about November 13, 2020, a wire transfer in the amount of $12,100.00 was
made from Lioness Community Care of Virginia LLC Chase Bank account #526731622 to a
Lioness Community Care of Virginia Wells Fargo account.

334. On or about November 25, 2020, a wire transfer in the amount of $12,000.00 was
made from Lioness Community Care of Virginia LLC Chase Bank account #526731622 to a
Lioness Community Care of Virginia Wells Fargo account.

335. On or about January 12, 2021, a withdrawal in the amount of $140,000.00 was
made from Lioness Community Care of Virginia LLC Chase Bank account #526731622,
which together with withdrawals from eight other accounts equaled a cash deposit in the amount
of $492,000.00 into the Coleman Real Estate Services LLC Chase Bank account #397858918,
on January 12, 2021.

JJ Express Transport LLC Chase Bank account #397869600

336. On or about May 19, 2020, an ACH transfer in the amount of $1,995,000.00 was
made from Bluevine via Celtic Bank to JJ Express Transport Chase Bank account #397869600

(NOTE: Prior to this transaction, the account had a balance of $3.51).

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337. On or about May 21, 2020, an online transfer in the amount of $1,995,003.51 was
made from JJ Express Transport LLC Chase Bank account #397869600 to Jason Coleman’s
Chase Bank account #369050171.

338. On or about May 27, 2020, an online transfer in the amount of $14,165.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to JJ Express Transport
LLC Chase Bank account #397869600.

339. On or about May 27, 2020, a purchase in the amount of $10,000.00 was made at
TitleMax of Phoenix, with Card 5575 from JJ Express Transport LLC Chase Bank account
#397869600.

340. On or about June 8, 2020, an online transfer in the amount of $1,000,000.00 was
made from Jason Coleman’s Chase Bank account #369050171 to JJ Express Transport LLC
Chase Bank account #397869600.

341. On or about June 8, 2020, an online transfer in the amount of $1,000,000.00 was
made from JJ Express Transport LLC Chase Bank account #397869600 to Coleman Real
Estate Services LLC Chase Bank account #397858918.

342. On or about June 14, 2020, an online transfer in the amount of $18,558.23 was
made from JJ Express Transport LLC Chase Bank account #397869600 to Borrow My
Credentials LLC Chase Bank account #526782765.

343. On or about June 14, 2020, a purchase in the amount of $10,000.00 was made at
Rollit Motors, Mesa, AZ (NOTE: Rollit Motors is a Car Dealer, 60 N. Gilbert, Rd., Gilbert, AZ
85203), with Card 5575 from JJ Express Transport LLC Chase Bank account #397869600.

a. On or about June 14, 2020, a purchase in the amount of $10,705.00 was

made at Rollit Motors, 1858 E. Main St., Mesa, AZ. (NOTE: Rollit Motor Service Shop,

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1858 E. Main St., Mesa, AZ 85203) from Kimberly Coleman’s Bank of America

account #457031408745.

b. On or about June 14, 2020, a purchase in the amount of $5,000.00 was made
at Rollit Motors, Mesa, AZ, with Card 6976 from Coco’s Assisted Living Home LLC’s

Chase Bank account #279060690.

344. On or about June 15, 2020, an online transfer in the amount of $14,705.00 was
made from Coco’s Assisted Living Home LLC’s Chase Bank account #279060690 to JJ
Express Transport LLC Chase Bank account #397869600.

345. Onor about June 15, 2020, an online transfer in the amount of $7,853.00 was made
from Coco’s Assisted Living Home LLC’s Chase Bank account #279060690 to JJ Express
Transport LLC Chase Bank account #397869600.

346. On or about June 15, 2020, an online transfer in the amount of $11,000.00 was
made from Lioness Community Care of Virginia LLC Chase Bank account #526731622 to JJ
Express Transport LLC Chase Bank account #397869600.

347. On or about August 13, 2020, an online transfer in the amount of $262,698.00 was
made from Coco’s Assisted Living Home LLC’s Chase Bank account #279060690 to JJ
Express Transport LLC Chase Bank account #397869600.

348. On or about August 13, 2020, an online transfer in the amount of $262,706.00 was
made from JJ Express Transport LLC Chase Bank account #397869600 to We Mean to
Clean, LLC Chase Bank account #307502077.

Coleman Family Freight Logistics, LLC Bank of America account #457031411693

349. On or about June 18, 2020, an ACH transfer in the amount of $10,000.00 was made to

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Coleman Family Freight Logistics, LLC Bank of America account #457031411693, from
SBAD Treas 310, Reference Nte Pmt Eid.

350. On or about June 29, 2020, a transfer in the amount of $9,950.00 was made from
Coleman Family Freight Logistics, LLC Bank of America account #457031411693 to
Kimberly Coleman’s Bank of America account #457031408745.

351. On or about July 3, 2020, an ACH transfer in the amount of $2,125,000.00 was
made from Newtek to Coleman Family Freight Logistics, LLC Bank of America account
#457031411693 (NOTE: Prior to this transaction, the account had a balance of $36.00).

352. On or about July 23, 2020, a wire transfer in the amount of $244,900.92 was made
from Coleman Family Freight Logistics, LLC Bank of America account #457031411693 to
Pioneer Title Agency, Inc., Ref. 70105480001J24.

353. On or about July 23, 2020, a wire transfer in the amount of $4,485.00 was made
from Coleman Family Freight Logistics, LLC Bank of America account #457031411693 to
Pioneer Title Agency, Inc., Ref. Coleman.

354. On or about August 3, 2020, an online transfer in the amount of $9,999.00 was
made from Coleman Family Freight Logistics, LLC Bank of America account #457031411693
to Kimberly Coleman’s Bank of America account #457031408745.

355, On or about August 3, 2020, an online transfer in the amount of $225,000.00 was
made from Coleman Family Freight Logistics, LLC Bank of America account #457031411693
to Coleman Real Estate Services LLC account #457042363675.

356. On or about August 7, 2020, an online transfer in the amount of $9,999.99 was
made from Coleman Family Freight Logistics, LLC Bank of America account #457031411693

to Kimberly Coleman’s Bank of America account #457031408745.

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357, On or about August 13, 2020, a wire transfer in the amount of $262,698.00 was
made from Coleman Family Freight Logistics, LLC Bank of America account #457031411693
to First Arizona Title Agency LLC.

358. Onor about August 28, 2020, a wire transfer in the amount of $25,000.00 was made
from Coleman Family Freight Logistics, LLC Bank of America account #457031411693 to
Empire West Title Agency LLC, Ref: Transtar.

359, Onor about September 10, 2020, a wire transfer in the amount of $189,000.00 was
made from Coleman Family Freight Logistics, LLC Bank of America account #457031411693
to Ayers and Stolte, Ref: Blake.

360. Onor about October 13, 2020, a transfer in the amount of $300,000.00 was made
from Coleman Family Freight Logistics, LLC Bank of America account #457031411693 to a
Merrill Lynch account ending in 5212.

361. On or about October 13, 2020, a wire transfer in the amount of $710,000.00 was
made from Coleman Family Freight Logistics, LLC Bank of America account #457031411693
to a First State Bank account, Info: CST.

362. Onor about October 30, 2020, an online transfer in the amount of $140,000.00 was
made from Coleman Family Freight Logistics, LLC Bank of America account #457031411693
to Coleman Real Estate Services LLC Bank of America account #457042363675.

Victorious Franchises LLC Chase Bank account #583820979

363. On or about May 22, 2020, an ACH transfer in the amount of $937,500.00 was
made from Fundbox, Inc. to Victorious Franchises LLC Chase Bank account #583820979

(NOTE: Prior to this transaction, the account had a balance of $30.00).

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364. On or about May 28, 2020, an online transfer in the amount of $327,000.00 was
made from Victorious Franchises LLC Chase Bank account #583820979 to Kimberly
Coleman’s Chase Bank account #362503093.

365. On or about June 6, 2020, a withdrawal in the amount of $150,000.00 was made
from Victorious Franchises LLC Chase Bank account #583820979 for Cashier’s Check No.
9011821793, Pay To The Order Of: Oswald Edwards.

366. On or about June 16, 2020, an online transfer in the amount of $55,000.00 was
made from Victorious Franchises LLC Chase Bank account #583820979 to Kimberly
Coleman’s Chase Bank account #362503093.

367. On or about July 10, 2020, a withdrawal in the amount of $260,552.43 was made
from Victorious Franchises LLC Chase Bank account #583820979 for Cashier’s Check No.
9097241992, Pay To The Order Of: Pioneer Title.

368. On or about November 6, 2020, an ACH transfer in the amount of $55,000.00 was
made from Victorious Franchises LLC Chase Bank account #583820979 to Scooter’s Coffee.

369. On or about November 12, 2020, a wire transfer in the amount of $13,000.00 was
made from Victorious Franchises LLC Chase Bank account #583820979 to CST Data LLC
Fifth Third Bank account #7470841300, Ref: Payroll.

370. On or about November 20, 2020, a wire transfer in the amount of $9,999.99 was
made from Victorious Franchises LLC Chase Bank account #583820979 to CST Data LLC
Fifth Third Bank account #7470841300, Ref: Payroll.

371. On or about November 20, 2020, a wire transfer in the amount of $1,500.00 was
made from Victorious Franchises LLC Chase Bank account #583820979 to CST Data LLC

Fifth Third Bank account #7470841300, Ref: Payroll.

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372. On or about December 11, 2020, a wire transfer in the amount of $13,250.00 was
made from Victorious Franchises LLC Chase Bank account #583820979 to CST Data LLC
Fifth Third Bank account #7470841300, Ref: Payroll.

373. Onor about January 12, 2021, a withdrawal in the amount of $45,000.00 was made
from Victorious Franchises LLC Chase Bank account #583820979, which together with
withdrawals from eight other accounts equaled a cash deposit in the amount of $492,000.00 into
the Coleman Real Estate Services LLC Chase Bank account #397858918, on January 12, 2021.

Lioness Community Care of Arizona LLC Chase Bank account #526709180

374. On or about January 23, 2020, an online transfer in the amount of $11,835.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

375. On or about January 27, 2020, an online transfer in the amount of $9,000.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

376. On or about March 2, 2020, an online transfer in the amount of $10,362.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

377. On or about March 2, 2020, an online transfer in the amount of $10,200.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to
Borrow My Credentials LLC Chase Bank account #526782765.

378. Onor about March 5, 2020, an online transfer in the amount of $9,134.79 was made
from Borrow My Credentials LLC Chase Bank account #526782765 to Lioness Community

Care of Arizona LLC Chase Bank account #526709180.

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379, Onor about April 3, 2020, an online transfer in the amount of $9,591.70 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to Lioness
Community Care of Arizona LLC Chase Bank account #526709180.

380. On or about April 16, 2020, a wire transfer in the amount of $12,000.00 was made
from Kimberly Coleman’s Bank of America account #457031408745 to Lioness Community
Care of Arizona LLC Chase Bank account #526709180, Ref: Cover Remaining Payroll.

381. On or about April 23, 2020, an online transfer in the amount of $10,171.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

382. On or about April 23, 2020, a cash withdrawal in the amount of $10,100.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709180.

383. Onor about May 1, 2020, an online transfer in the amount of $11,822.78 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to Lioness
Community Care of Arizona LLC Chase Bank account #526709180.

384. On or about May 14, 2020, an online transfer in the amount of $9,577.00 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to Lioness
Community Care of Arizona LLC Chase Bank account #526709180.

385. On or about May 14, 2020, an online transfer in the amount of $13,000.00 was
made from Lioness Community Care of Virginia LLC Chase Bank account #526731622 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

386. On or about May 19, 2020, an online transfer in the amount of $20,000.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to Lioness Community

Care of Arizona LLC Chase Bank account #526709180.

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387. Onor about May 19, 2020, a wire transfer in the amount of $13,812.58 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to Bamboo
HR Payroll.

388. On or about May 28, 2020, an online transfer in the amount of $16,005.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

389, On or about June 11, 2020, an online transfer in the amount of $22,000.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

390. On or about June 25, 2020, an online transfer in the amount of $45,000.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

391. Onor about July 23, 2020, an online transfer in the amount of $25,000.00 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to Lioness
Community Care of Arizona LLC Chase Bank account #526709180.

392. On or about August 6, 2020, an online transfer in the amount of $22,067.54 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

393. On or about September 17, 2020, an online transfer in the amount of $25,000.00
was made from Lioness Community Care of Arizona LLC Chase Bank account #526709115

to Lioness Community Care of Arizona LLC Chase Bank account #526709180.

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394. On or about October 1, 2020, an online transfer in the amount of $25,000.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

395. On or about October 30, 2020, an ACH transfer in the amount of $16,340.65 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

396. On or about November 10, 2020, an online transfer in the amount of $18,000.00
was made from Lioness Community Care of Arizona LLC Chase Bank account #526709115
to Lioness Community Care of Arizona LLC Chase Bank account #526709180.

397. Onor about November 12, 2020, an ACH transfer in the amount of $13,574.59 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

398. On or about November 24, 2020, an online transfer in the amount of $20,000.00
was made from Lioness Community Care of Arizona LLC Chase Bank account #526709115
to Lioness Community Care of Arizona LLC Chase Bank account #526709180.

399. Onor about November 27, 2020, an ACH transfer in the amount of $14,943.20 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

400. On or about December 10, 2020, an online transfer in the amount of $14,000.00
was made from Lioness Community Care of Arizona LLC Chase Bank account #526709115

to Lioness Community Care of Arizona LLC Chase Bank account #526709180.

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401. Onor about December 10, 2020, an ACH transfer in the amount of $13,187.46 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

402. On or about December 22, 2020, an online transfer in the amount of $15,000.00
was made from Lioness Community Care of Arizona LLC Chase Bank account #526709115
to Lioness Community Care of Arizona LLC Chase Bank account #526709180.

403. On or about January 7, 2021, an online transfer in the amount of $22,655.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

404. On or about January 20, 2021, an online transfer in the amount of $25,129.24 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

405. On or about January 21, 2021, an ACH transfer in the amount of $14,938.91 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

406. On or about February 4, 2021, an ACH transfer in the amount of $15,176.68 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

407. On or about February 16, 2021, an online transfer in the amount of $18,050.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to

Lioness Community Care of Arizona LLC Chase Bank account #526709180.

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408. On or about February 18, 2021, an ACH transfer in the amount of $21,139.68 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

409. On or about March 3, 2021, an online transfer in the amount of $26,000.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

410. Onor about March 3, 2021, a wire transfer in the amount of $41,000.00 was made
from Lioness Community Care of Ohio LLC Bank of America account #457031411732 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

411.  Onor about March 3, 2021, an online transfer in the amount of $9,000.00 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to
Kimberly Coleman’s Chase Bank account #362503093.

412. On or about March 4, 2021, an ACH transfer in the amount of $21,933.46 from
Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an unknown
account, Ind Name: Lioness Community Care.

413, On or about March 18, 2021, an online transfer in the amount of $22,570.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

414, On or about March 18, 2021, an ACH transfer in the amount of $20,616.48 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an

unknown account, Ind Name: Lioness Community Care.

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415. Onor about April 1, 2021, an ACH transfer in the amount of $19,288.27 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

A416. On or about April 14, 2021, an online transfer in the amount of $11,000.00 was
made from Coleman Real Estate LLC Chase Bank account #397858918 to Lioness
Community Care of Arizona LLC Chase Bank account #526709180.

417. On or about April 14, 2021, an online transfer in the amount of $17,092.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

418. Onor about April 15,2021, an ACH transfer in the amount of $20,353.27 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

419. On or about April 22, 2021, an online transfer in the amount of $28,176.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709107 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

420. On or about April 27, 2021, an online transfer in the amount of $24,000.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

421. Onor about April 29, 2021, an ACH transfer in the amount of $20,694.95 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an

unknown account, Ind Name: Lioness Community Care.

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422. On or about May 12, 2021, an online transfer in the amount of $24,215.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to
Lioness Community Care of Arizona LLC Chase Bank account #526709180.

423. Onor about May 13, 2021, an ACH transfer in the amount of $19,379.61 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

424. On or about May 20, 2021, an ACH transfer in the amount of $18,846.72 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

425. On or about May 27, 2021, an online transfer in the amount of $11,000.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to Lioness Community
Care of Arizona LLC Chase Bank account #526709180.

426. Onor about May 28, 2021, an ACH transfer in the amount of $23,773.45 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

427. Onor about June 10, 2021, an ACH transfer in the amount of $23,445.25 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

428. On or about June 22, 2021, an online transfer in the amount of $24,000.00 was
made from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to

Lioness Community Care of Arizona LLC Chase Bank account #526709180.

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429. Onor about June 24, 2021, an ACH transfer in the amount of $22,418.48 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

430. On or about July 7, 2021, an online transfer in the amount of $21,000.00 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709107 to Lioness
Community Care of Arizona LLC Chase Bank account #526709180.

431. Onor about July 8, 2021, an ACH transfer in the amount of $23,317.52 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

432. Onor about July 21, 2021, an online transfer in the amount of $28,000.00 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709115 to Lioness
Community Care of Arizona LLC Chase Bank account #526709180.

433. Onor about July 22, 2021, an ACH transfer in the amount of $25,312.41 was made
from Lioness Community Care of Arizona LLC Chase Bank account #526709180 to an
unknown account, Ind Name: Lioness Community Care.

Kimberly Coleman’s Bank of America account #457031408745

434, Onor about April 10, 2020, a wire transfer in the amount of $13,999.00 was made
from Borrow My Credentials LLC Chase Bank account #526782765 to Kimberly Coleman’s
Bank of America account #457031408745.

435. Onor about April 16, 2020, a wire transfer in the amount of $12,000.00 was made
from Kimberly Coleman’s Bank of America account #457031408745 to Lioness Community

Care of Arizona LLC Chase Bank account #526709180, Ref: Cover Remaining Payroll.

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436. On or about May 4, 2020, a wire transfer in the amount of $10,000.00 was made
from Kimberly Coleman’s Bank of America account #457031408745 to Security Title
Agency, Inc., Ref: 3702 E. Brown Rd.

437. On or about June 14, 2020, a purchase in the amount of $10,705.00 was made at
Rollit Motors, 1858 E. Main St. Mesa, AZ from Kimberly Coleman’s Bank of America
account #457031408745.

438. Onor about June 15, 2020, a purchase in the amount of $1,000.00 was made at My
Cars LLC from Kimberly Coleman’s Bank of America account #457031408745. (NOTE: See
June 16, 2020 withdrawal for a Cashier’s Check in the amount of $53,123.62 from Kimberly
Coleman Chase Bank account #362503093).

439.  Onor about June 29, 2020, a transfer in the amount of $9,950.00 was made from
Coleman Family Freight Logistics LLC Bank of America account #457031411693 to
Kimberly Coleman’s Bank of America account #457031408745.

440, On or about July 15, 2020, a purchase in the amount of $2,000.00 was made at
Biltmore Surgical Hair, Phoenix, AZ, from Kimberly Coleman’s Bank of America account
#457031408745.

441. On or about July 21, 2020, a purchase in the amount of $7,550.00 was made at
Biltmore Surgical Hair, Phoenix, AZ, from Kimberly Coleman’s Bank of America account
#457031408745.

442. On or about August 3, 2020, an online transfer in the amount of $9,999.00 was
made from Coleman Family Freight Logistics LLC Bank of America account #457031411693

to Kimberly Coleman’s Bank of America account #457031408745.

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443, On or about August 7, 2020, an online transfer in the amount of $9,999.99 was
made from Coleman Family Freight Logistics LLC Bank of America account #457031411693
to Kimberly Coleman’s Bank of America account #457031408745.

444, On or about August 14, 2020, an online transfer in the amount of $95,000.00 was
made from Coleman Real Estate Services LLC Bank of America account #457042363675 to
Kimberly Coleman’s Bank of America account #457031408745.

445. On or about September 1, 2020, an online transfer in the amount of $15,000.00
was made from Coleman Real Estate Services LLC Bank of America account #457042363675
to Kimberly Coleman’s Bank of America account #457031408745.

446, Onor about September 1, 2020, an online transfer in the amount of $5,000.00 was
made from Coleman Real Estate Services LLC Bank of America account #457042363675 to
Kimberly Coleman’s Bank of America account #457031408745.

447. On or about November 2, 2020, a purchase in the amount of $40,620.60 was made
at Scottsdale Center for Plastic Surgery from Kimberly Coleman’s Bank of America account
#457031408745.

448, On or about November 20, 2020, the amount of $10,987.20 was returned from
Scottsdale Center for Plastic Surgery to Kimberly Coleman’s Bank of America account
#457031408745.

449, Onor about December 24, 2020, a purchase in the amount of $1,981.55 was made
at Kay Jewelers, Mesa, AZ from Kimberly Coleman’s Bank of America account

#457031408745.

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450. Onor about January 18, 2021, a purchase in the amount of $10,192.00 was made
at Honor Health Offsite Preservices from Kimberly Coleman’s Bank of America account
#457031408745.

451. On or about February 17, 2021, a wire transfer in the amount of $26,916.67 was
made from Kimberly Coleman’s Bank of America account #457031408745 to Hub Reality
LLC [sic], Reference VV 1' Month.

452, On or about February 18, 2021, a wire transfer in the amount of $8,850.00 was
made from Kimberly Coleman’s Bank of America account #457031408745 to Lioness
Community Care of Arizona LLC Chase Bank account #526709180, Ref: Payroll.

453. Onor about February 28, 2021, a purchase in the amount of $28,092.44 was made
at Skylux Travel from Kimberly Coleman’s Bank of America account #457031408745.

454. On or about March 1, 2021, an online transfer in the amount of $62,000.00 was
made from Lioness Community Care of Ohio LLC Bank of America account #457031411732
to Kimberly Coleman’s Bank of America account #457031408745.

455. Onor about March 2, 2021, a purchase in the amount of $20,792.00 was made at
Skylux Travel from Kimberly Coleman’s Bank of America account #457031408745,

456. On or about March 4, 2021, an online transfer in the amount of $40,000.00 was
made from Lioness Community Care of Ohio LLC Bank of America account #457031411732
to Kimberly Coleman’s Bank of America account #457031408745.

457. On or about March 4, 2021, a wire in the amount of $25,000.00 was made from
Kimberly Coleman’s Bank of America account #457031408745 to a Blake Home Health

Wells Fargo account, Reference Payroll Float.

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458. Onor about March 8, 2021, an online transfer in the amount of $5,000.00 was made
from Lioness Community Care of Ohio LLC Bank of America account #457031411732 to
Kimberly Coleman’s Bank of America account #457031408745,

459. Onor about March 10, 2021, a cash withdrawal in the amount of $10,000.00 was
made from Kimberly Coleman’s Bank of America account #457031408745.

460. On or about March 10, 2021, an online transfer in the amount of $5,000.00 was
made from Lioness Community Care of Ohio LLC Bank of America account #457031411732
to Kimberly Coleman’s Bank of America account #457031408745.

461. On or about March 15, 2021, an online transfer in the amount of $40,000.00 was
made from Lioness Community Care of Ohio LLC Bank of America account #457031411732
to Kimberly Coleman’s Bank of America account #457031408745.

462. On or about March 15, 2021, a transfer in the amount of $26,916.67 was made
from Kimberly Coleman’s Bank of America account #457031408745 to Hub Reality LLC
[sic], Reference March VV Pmt.

463. On or about March 23, 2021, an online transfer in the amount of $20,000.00 was
made from Lioness Community Care of Ohio LLC Bank of America account #457031411732
to Kimberly Coleman’s Bank of America account #457031408745.

464. Onor about March 30, 2021, a purchase in the amount of $27,521.00 was made at
Desert Valley Plastic 8, Phoenix, AZ from Kimberly Coleman’s Bank of America account
#45703 1408745.

465. Onor about March 31, 2021, an online transfer in the amount of $35,000.00 was
made from Lioness Community Care of Ohio LLC Bank of America account #457031411732

to Kimberly Coleman’s Bank of America account #457031408745.

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466. Onor about April 12, 2021, a transfer in the amount of $26,916.67 was made from
Kimberly Coleman’s Bank of America account #457031408745 to Hub Reality LLC [sic].

467. Onor about April 13, 2021, a wire transfer in the amount of $35,000.00 was made
from Kimberly Coleman’s CitiBank account #42032092829 to Kimberly Coleman’s Bank of
America account #457031408745.

468. Onor about Apri! 15, 2021, a wire transfer in the amount of $20,000.00 was made
from Kimberly Coleman’s Bank of America account #457031408745 to Lioness Community
Care of Arizona LLC Chase Bank account #526709107, Ref: Overflow.

Coleman Family Freight Logistics LLC Chase Bank account #660555118

469. Onor about October 13, 2020, a deposit in the amount of $25,000.00 was made to
Coleman Family Freight Logistics, LLC Bank of America account #660555118, Check No.
329628 from Empire West Title Agency Escrow Account, File No 135030EW, Attn: Kimberly
Coleman,

470. On or about January 12, 2021, a cash withdrawal in the amount of $25,000.00 was
made from Coleman Family Freight Logistics, LLC Bank of America account #660555118,
which together with withdrawals from eight other accounts equaled a cash deposit in the amount
of $492,000.00 into the Coleman Real Estate Services LLC Chase Bank account #397858918,
on January 12, 2021.

Lioness Community Care Corp. Chase Bank account #526762379

471. On or about August 14, 2020, an ACH transfer in the amount of $650,000.00 was
made from MBE Capital Partners to Lioness Community Care Corp. Chase Bank account

#526762379 (NOTE: Prior to this transaction, the account had a balance of $1.85).

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472. On or about August 20, 2020, an ACH transfer in the amount of $75,000.00 was
made from Lioness Community Care Corp. Chase Bank account #526762379 to “HS” with
an account ending in 6699.

473. On or about September 11, 2020, a withdrawal in the amount of $104,376.85 was
made from Lioness Community Care Corp. Chase Bank account #526762379, the same date
and amount as a cash deposit to Champion Auto Sales LLC Chase Bank account #629168995.

474, On or about September 17, 2020, an ACH transfer in the amount of $70,000.00 was
made from Lioness Community Care Corp. Chase Bank account #526762379 to “HS” with
an account ending in 6699.

475. Onor about October 30, 2020, an online transfer in the amount of $300,000.00 was
made from Community Care Corp. Chase Bank account #526762379 to Coleman Real Estate
Services LLC Chase Bank account #397858918.

476. Onor about January 12, 2021, a withdrawal in the amount of $87,000.00 was made
from Lioness Community Care Corp. Chase Bank account #526762379, which together with
withdrawals from eight other accounts equaled a cash deposit in the amount of $492,000.00 into
the Coleman Real Estate Services LLC Chase Bank account #397858918, on January 12, 2021.

477. On or about February 3, 2021, an online transfer in the amount of $6,000.00 was
made from Kimberly Coleman’s Chase Bank account #362503093 to Community Care Corp.
Chase Bank account #526762379.

478. On or about February 10, 2021, an online transfer in the amount of $3,800.00 was
made from Community Care Corp. Chase Bank account #526762379 to Kimberly Coleman’s

Chase Bank account #362503093.

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VEHICLE PURCHASES
The Mercedes

479, On or about June 18, 2020, an online transfer in the amount of $1,150,000.00 was
made from Al Home Care Software, LLC’s Chase Bank account #583811127 to Kimberly
Coleman’s Chase Bank account #362503093.

486. On or about June 18, 2020, an online transfer in the amount of $375,000.00 was
made from New Beginnings Childcare Center LLC’s Chase Bank account #397828622 to
Kimberly Coleman’s Chase Bank account #362503093.

480. The Mercedes was purchased on or about June 18, 2020, with a withdrawal in the
amount of $525,000.00 made from Kimberly Coleman’s Chase Bank account #362503093 for
Cashier’s Check No. 9097241699, Pay To The Order Of: Luxury Auto Collection.

The Rolls Royce

481. Onor about June 18, 2020, an online transfer in the amount of $1,150,000.00 was
made from Al Home Care Software, LLC’s Chase Bank account #583811127 to Kimberly
Coleman’s Chase Bank account #362503093.

482, On or about June 18, 2020, an online transfer in the amount of $375,000.00 was
made from New Beginnings Childcare Center LLC’s Chase Bank account #397828622 to
Kimberly Coleman’s Chase Bank account #362503093.

483, The Rolls Royce was purchased on or about June 18, 2020, a withdrawal in the
amount of $525,000.00 made from Kimberly Coleman’s Chase Bank account #362503093 for

Cashier’s Check No. 9097241699, Pay To The Order Of: Luxury Auto Collection.

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The Range Rover

484. On or about August 14, 2020, an ACH transfer in the amount of $650,000.00 was
made from MBE Capital Partners to Lioness Community Care Corp. Chase Bank account
#526762379

485, On or about September 11, 2020, a cash deposit in the amount of $104,376.85 was
made to Champion Auto Sales LLC Chase Bank account #629168995, the same date and
amount as a withdrawal from Lioness Community Care Corp Chase Bank account
#526762379.

486. The Range Rover was purchased on or about September 14, 2020, with a wire
transfer in the amount of $104,376.85 made from Champion Auto Sales LLC Chase Bank
account #629168995 to CJNS LLC. (NOTE: CJNS, LLC is the name of the dealer for Jaguar
Land Rover North Scottsdale, 18100 N. Scottsdale Rd., Phoenix, AZ 85054-6142.) This was for
the purchase of the Range Rover with sale price of $109,950.00. The registered owner of the
Range Rover is Champion Auto Sales LLC.

The Cadillac Escalade

487. On or about May 21, 2020, an online transfer in the amount of $1,995,003.51 was
made from JJ Express Transport LLC’s Chase Bank account #397869600 to Jason Coleman’s
Chase Bank account #369050171 (NOTE: Prior to this transaction, the account had a balance of
$241.09).

488. Onor about June 11, 2020, a withdrawal in the amount of $1,996,992.92 was made
from Empress Home Care Services LLC’s Chase Bank account #356068657, the same date

and amount as a cash deposit to Jason Coleman’s Chase Bank account #369050171.

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489. The Cadillac Escalade was purchased on or about November 9, 2020, with a
withdrawal in the amount of $66,280.19 made from Jason Coleman’s Chase Bank account
#369050171 for Cashier’s Check No. 9013256759, Pay To The Order Of: Coulter Cadillac. This
was for the purchase of The Cadillac Escalade with a sale price of $96,489.00. The registered
owner of the The Cadillac Escalade is Champion Auto Sales LLC.

The Bentley

490. On or about June 18, 2020, an ACH transfer in the amount of $885,955.93 was
made from Square Inc to New Beginnings Learning Center LLC Chase Bank account
#397828622, Name: Jason Coleman (NOTE: Prior to this transaction, the account had a balance
of $1.00).

491. On or about October 15, 2020, a withdrawal in the amount of $182,134.75 was
made from New Beginnings Childcare Center LLC’s Chase Bank account #397828622, the
same date as a cash deposit in the amount of $182,154.75 was made to Champion Auto Sales
LLC Chase Bank account #629168995,

492. The Bentley was purchased on or about October 15, 2020, with a withdrawal in the
amount of $182,153.75 made from Champion Auto Sales LLC Chase Bank account
#629168995 for Cashier’s Check No. 9015348770, Pay To The Order Of: Speed Auto Sales.
Speed Auto Sales and Leasing is located at 5746 N. 7" St., Phoenix, AZ 85014. This was for the
purchase of a The Bentley with a sales price of $182,153.75. The registered owner of The Bentley
is Champion Auto Sales LLC.

SUMMARY OF FINANCIAL ANALYSIS and FRAUD
493, An FBI Forensic Accountant reviewed and analyzed numerous records obtained

via Grand Jury subpoena related to the activities of the entities listed above, and the results are as

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follows: From about May 2020 through July 2021, Jason Coleman and Kimberly Coleman and
their associated business entities’ bank accounts received approximately $13,058,979.94 through
the PPP. The PPP loan proceeds were intended for permissible expenses such as payroll costs,
interest on mortgages, and rent and utilities, but the Colemans used the PPR funds on personal
expenses. Approximately $6,416,882, or 49% of the PPP funding was used to purchase real
property, jewelry and vehicles. Approximately $3,002,200, or 23% of the funds were in the form
of withdrawals to other various business and personal bank accounts. Approximately $1,556,732,
or 12% were in the form of outbound international wires. Approximately $580,859, or 4% of the
funds were used on travel, retail, meals and entertainment. Approximately $161,308 or 1% was
used for healthcare related expenses such as aesthetic and cosmetic procedures. Approximately
$1,340,999, or 10% was used on other miscellaneous expenses.

494. The PPP funds deposited into the business entity bank accounts referenced above
were transferred into and among several business, personal and investment accounts.

CONCLUSION

495. Probable cause exists to believe that the bank accounts listed on the first two
pages of this affidavit, the Rolls Royce, the Mercedes, the Range Rover, the Cadillac Escalade,
and the Bentley are (a) property, real or personal, which constitute or are derived from proceeds
traceable to a specific unlawful activity, including 18 U.S.C. § 1343 (Wire Fraud), and are

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property, real or personal, involved in a transaction or attempted transaction in violation of 18
U.S.C. § 1957 (Money Laundering); (b) subject to seizure pursuant to 18 U.S.C. §§ 981(b)(1)
and 21 U.S.C. § 853(e) and (f); and (c) subject to forfeiture pursuant to 18 U.S.C. §§

981(a)(1)(A) and (C) and 982(a)(1) and 28 U.S.C. § 2461.

Ce)

Troy Cofer/Special Agent
Federal Bureau of Investigation
Phoenix, Arizona

SUBSCRIBED AND SWORN to before-me-this day of December 2021
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Hon. Michelle H. Burns
United States Magistrate Judge

 

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